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 1                    IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA
 2

 3      United States of America,       ) Criminal Action
                                        ) No. 19-CR-125
 4                         Plaintiff,   )
                                        ) PRETRIAL CONFERENCE
 5      vs.                             ) DAY 2
                                        )
 6      Gregory B. Craig,               ) Washington, DC
                                        ) August 7, 2019
 7                         Defendant.   ) Time: 2:00 p.m.
        ___________________________________________________________
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                     TRANSCRIPT OF PRETRIAL CONFERENCE
 9                               HELD BEFORE
                   THE HONORABLE JUDGE AMY BERMAN JACKSON
10                      UNITED STATES DISTRICT JUDGE
        ____________________________________________________________
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 1      Court Reporter:       Janice E. Dickman, RMR, CRR, CRC
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 1                  THE COURTROOM DEPUTY:      Your Honor, this afternoon we

 2      have case No. 19-125, the United States of America v. Gregory

 3      B. Craig.   Mr. Craig is present in the courtroom, Your Honor.

 4                  Will counsel for the parties please approach the

 5      lectern and identify yourself for the record.

 6                  MR. CAMPOAMOR-SANCHEZ:      Good afternoon again, Your

 7      Honor.   Molly Gaston, Jason McCullough, and Fernando Campoamor

 8      for the United States.

 9                  THE COURT:    All right.    Good afternoon.

10                  MR. TAYLOR:    William Taylor, William Murphy, and Adam

11      Abelson for Mr. Craig.

12                  THE COURT:    All right.    Good afternoon.    I want to

13      get the exhibits up on the screen.        One moment.

14                  MR. TAYLOR:    I'm sorry, Your Honor?

15                  THE COURT:    I was just asking you to all give me a

16      moment for me to pull up on my screen what I need to have.

17                  Before I start, is there anything that Mr. Taylor

18      would like to raise?      Then we'll turn to the government.

19                  MR. TAYLOR:    I'm not sure why you looked at me.

20                  THE COURT:    Because you were already walking.

21                  MR. TAYLOR:    Well, I was.    Your Honor, you gave us a

22      lot to read yesterday, which we have done.         It raises at least

23      one important question, and that is whether the government

24      intend to appeal.

25                  THE COURT:    The question occurred to me.
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 1                 MR. TAYLOR:     And we earnestly believe we should know

 2      that now, the Court should know that now.         I don't need to

 3      explain what predicament that puts us in if we're going forward

 4      on this trial and there is an issue litigated on appeal.            So

 5      that is the matter that I wanted to bring to your attention and

 6      see if we can get an answer to it.

 7                 THE COURT:    All right.     Now maybe a little demanding,

 8      but I would like to know if the government knows at this time

 9      and if it doesn't, when it thinks it would know.

10                 MR. CAMPOAMOR-SANCHEZ:       Your Honor, we briefly

11      discussed this matter with Mr. Taylor yesterday afternoon.            We

12      certainly raised it within our office.        As the Court may know,

13      it is ultimately the Solicitor General's Office that makes

14      decisions as to whether the government is going to appeal a

15      court order of this type.      Obviously everybody understands that

16      there is a trial date set for Monday.        But I unfortunately

17      don't have -- I've communicated that to my supervisors, they

18      have communicated it up the chain, and I know people are

19      working on it.    But I, unfortunately, cannot provide any

20      further information to the Court or to the defense.             That's all

21      I know as of now.

22                 THE COURT:    I realize it puts the defense in a bind,

23      it puts the Court in a bind, it puts the government in a bind

24      because you have to summon all your witnesses and we have to

25      have enough jurors here to select on Monday morning.
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 1                 It would be my strong recommendation that we know by

 2      noon on Friday, at the latest, because we need to know.         And

 3      then we need to figure out what we're going to do about it.           It

 4      would also be my strong recommendation that if the government

 5      appeals, which it has a perfect right to do, that it seek

 6      expedited consideration of any appeal, so that we're not

 7      waiting the ordinary amount of time that such a thing would

 8      take.

 9                 I understand that the decision is not solely the

10      decision of the trial team, or even the U.S. Attorney's

11      Office's appellate section.        And I understand Mr. Taylor's

12      desire for expedition.      And all I can underscore is that we all

13      need to know as soon as possible, as do you.

14                 MR. CAMPOAMOR-SANCHEZ:       Right.

15                 THE COURT:    So what I think, if we don't have any

16      further hearing scheduled after we're finished today -- which

17      would be my great hope, but, who knows -- that perhaps we

18      schedule a phone conference or something, we get them for

19      tomorrow midday or something, or if you can notify -- I mean,

20      clearly, as soon as you notify anyone, you notify Mr. Haley,

21      you can notify the other side at the same time and then we can

22      figure out, get together to talk about it.

23                 But, Mr. Taylor, is there any other specifics you

24      wanted to add to your desire to know now?

25                 MR. TAYLOR:     Um --
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 1                  THE COURT:    I don't feel like I have any authority to

 2      demand to know now.

 3                  MR. TAYLOR:    Couple of exclamation points is all.

 4                  THE COURT:    Okay.    Now.

 5                  MR. CAMPOAMOR-SANCHEZ:        And, Your Honor, to be clear,

 6      we continue to be preparing as if this case is going to trial

 7      Monday.   We're not delaying any witnesses.        We're all hoping,

 8      certainly, that we're going to trial on Monday; certainly I can

 9      speak for the trial team.      I just -- obviously, as the Court

10      knows, I've communicated the urgency.         We cannot control the

11      Solicitor General's Office, but I will again repeat what the

12      Court has suggested.

13                  As to timing, my suggestion would be that if we don't

14      have notice before, that we can schedule a telephone conference

15      for Friday afternoon.      I'm trying to give the government as

16      much time as possible to try to be able to answer the Court's

17      question, but --

18                  THE COURT:    As I said, if we're finished by the end

19      of today, then I think we ought to set up one, maybe, for

20      tomorrow afternoon, to try to keep the pressure on a little

21      bit, and to see if we can get any inclination one way or the

22      other.    And, obviously, if you decide to do it, the filing of a

23      notice of appeal would give everybody immediate notice.

24                  All right.    I don't think there's anything more we

25      can say about the subject.        We all know what the schedule is.
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 1                   MR. CAMPOAMOR-SANCHEZ:      Right.

 2                   THE COURT:    All right.    Is there anything else I need

 3      to take up before we start?       Yes?

 4                   MR. MURPHY:   Yes, Your Honor.       Mr. Murphy for the

 5      defense.    Yesterday, I don't think we talked in court about

 6      the -- what the government called its selective prosecution

 7      motion in limine, but the court issued a ruling on it

 8      yesterday.    One of the things that was briefed in connection

 9      with that was the potential for the defense to use the

10      registration that was filed by FTI and Mr. Hawker quite

11      recently.    And we just wanted to be sure that that -- we still

12      have the ability to offer that registration document, either

13      through cross-examination of Miss Hunt or potentially in

14      connection with the cross-examination of Mr. Hawker.

15                   THE COURT:    Well, I understood how you thought it

16      would come up in terms of cross-examination with Mr. Hawker.

17      Why does it come up with Miss Hunt?

18                   MR. MURPHY:   It is an example of what would be filed

19      if a registration had been filed.        It's, I think, illustrative.

20      And, you know, I think if we introduce it, it will inform the

21      jury about what a registration statement says, what's in it,

22      what's not in it.     And in this case Miss Hunt was actively

23      involved in the discussions that led to the filing of the

24      registration statement because there was a meeting between her

25      and Mr. VanGrack and representatives of FTI, which I think
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 1      we've alluded to in past filings.

 2                 We have her handwritten notes, that are quite

 3      extensive, in terms of why the government was asking FTI to

 4      file a late registration, and what exactly it would entail and

 5      some of the questions that arose during that, which I think are

 6      proper subjects of cross for Miss Hunt.

 7                 THE COURT:    Can I hear from the government on that?

 8      I mean, I guess there's two questions; one is whether it's

 9      appropriate during the testimony of the FTI individuals, and

10      then Miss Hunt.

11                 MR. CAMPOAMOR-SANCHEZ:       So I'll take it one witness

12      at a time, Your Honor.      I think it's definitely up to defense,

13      if they wanted to question Mr. Hawker, perhaps, under their

14      theory that that affects his testimony at trial in some way.          I

15      wanted to highlight, not only for the court, for the defense,

16      though, that we had negotiated, months ago, an agreement where

17      the government -- in fact, neither side was going to talk

18      about -- and we specifically limited in that agreement as to

19      Skadden's registration and all the individuals that register

20      for Skadden, many of whom are witnesses in this case, all of

21      whom have registered.

22                 So, in fact, the defense was very concerned about

23      that at the time and we agreed that was not part of the case,

24      we were not going to ask about it.        But both sides reserve the

25      ability to bring it up to the Court, if it became relevant in
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 1      light of what the other side did.

 2                 And frankly, I'm concerned that if that's really what

 3      they intend, then they are really going to open up the fact

 4      that it was not just Mr. Hawker who registered, but it was

 5      Skadden, and Skadden's other members, all of whom are

 6      witnesses, so I'm not understanding why they are trying to

 7      treat the Skadden witnesses differently than Hawker.

 8                 Now, as to Miss Hunt, I want to clarify a couple of

 9      things for the Court.      One is, what Mr. Murphy is referring to,

10      is Miss Hunt was a participant.       She was attending a meeting

11      where this issue was discussed.       The meeting was being led by

12      Mr. VanGrack.    And so she took notes of that meeting.         So it

13      was not a meeting where she was, herself, asserting the

14      government's position.      But she took notes about what was said.

15      And because it related to FTI, of course, and to Miss Hunt, we

16      produced it.

17                 But I would argue that whatever was said at that

18      meeting, which happened in May of 2019, doesn't have anything

19      to do or bearing on what she's going to be testifying about.

20      So that part I don't believe is relevant at all.

21                 As to Mr. Hawker, I think the defense needs to make a

22      decision, but we want to know whether -- then, really, it's

23      open season in terms of whether people that are testifying have

24      registered or not.

25                 THE COURT:    With respect to it might come in because
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 1      it shows what's in a registration statement, I noticed when I

 2      went through the exhibits that you all actually objected to

 3      blank ones.    So, but now what's in a registration statement you

 4      think is relevant?

 5                  MR. MURPHY:    I think the completed registration

 6      statement is relevant, Your Honor.        It's -- it was done by FTI,

 7      it was done under the clear direction of Mr. VanGrack and Miss

 8      Hunt, who was at the meeting.       I don't know what role she

 9      played, other than note-taker.        But she was previously the

10      senior officer of that unit.

11                  It's a very sparse statement.       FTI filed something

12      that said that in connection with the report, Mr. Hawker went

13      to New York for a meeting and he was involved in releasing the

14      report and disseminating the report to some media outlets in

15      the U.S.    It does not reveal the role of Mr. Manafort,

16      Mr. Gates, the Mercury firm, the Podesta Group, all of which

17      people were involved in the media rollout that Mr. Hawker

18      helped to orchestrate.      But yet, the registration statement did

19      not ask those questions and those answers weren't provided.

20      And I think that's all pertinent.

21                  THE COURT:    Well, I don't know what it's pertinent

22      to.   They may have agreed that he had to correct the record as

23      to himself and indicate -- I mean, you left out the main thing

24      that it revealed, which is at whose behest he was doing the

25      work, which is the point of a registration, the fundamental
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 1      registration statement.      So he said that.

 2                  MR. MURPHY:    It said the Ukraine Ministry of Justice.

 3                  THE COURT:    What fact in issue in this case does that

 4      make more likely than not, and then how would you differentiate

 5      that from all the other after-the-fact registration statements

 6      that are not coming in?

 7                  MR. MURPHY:    Your Honor, I think it reveals what the

 8      nature of the registration obligation is.         In your opinion

 9      yesterday you spent quite a bit of time on the Count 1 issue

10      with respect to the FARA regime.        But, I think that this

11      document shows that what was required to be registered was very

12      little.    And I think that's important.       I think it's important

13      to judge Mr. Craig's reasonable belief that what he was telling

14      the FARA unit was what was pertinent.

15                  THE COURT:    How does that affect his reasonable

16      belief?    Because Mr. Craig didn't see that at the time.        It's

17      come out now.     How does it have any bearing on what he was

18      thinking in 2012, and how could it possibly have less bearing

19      than what Skadden put in its?        Which I haven't even seen.

20                  MR. MURPHY:    Pardon?

21                  THE COURT:    How could, if that shows what he

22      reasonably believed he might have to say, bear on the issue and

23      be relevant, yet what Skadden actually wrote and other Skadden

24      partners said isn't?

25                  MR. MURPHY:    Your Honor, the Skadden issues are
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 1      totally separate and apart from this issue.          The agreement that

 2      we've reached is limited to the Skadden settlement agreement

 3      and the Skadden registration.       It could not be clearer.       That's

 4      what it related to.

 5                  THE COURT:    I'm not suggesting there's anything wrong

 6      with that agreement --

 7                  MR. MURPHY:    The reasons for that agreement have

 8      everything to do with the hearing that was conducted with Judge

 9      Howell.    And the reasons for it I don't want to go into now,

10      but they have -- they have to do with the representation of

11      Mr. Craig prior to our firm's representation of him.

12                  The FTI registration statement, we think should come

13      in for multiple reasons.       One, which we've talked about before,

14      is that up until June -- July?        July of this year, they had not

15      registered for things that occurred in 2012.          Mr. Hawker and

16      FTI, the entity, were pressured by the government to do a

17      registration retroactively.       The reason that they were

18      pressured was, frankly, we think, because of this trial.

19                  They didn't want to have a situation -- the

20      government did not want to have a situation in which

21      Mr. Hawker, who really was the person who created the media

22      plan, had not registered, and yet Mr. Craig is being brought to

23      the bar of justice for failing to give a full disclosure about

24      what he did in connection with that same media plan.             The

25      document itself shows that the focus of the FARA unit was what
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 1      FTI did.    The actions that FTI took, not the actions that other

 2      people took.

 3                  THE COURT:    No.   It shows that with respect to

 4      whatever FTI had to file, what FTI did was the focus.            How does

 5      it -- what does it say --

 6                  MR. MURPHY:    When Mr. Craig was answering questions

 7      from the FARA unit and the letters that were sent to him --

 8                  THE COURT:    They weren't asking did FTI have to

 9      register.    They were asking did you have to register.

10                  MR. MURPHY:    They're asking what you did and what

11      your firm did.     That was the focus.     That was his entire focus

12      throughout the process.      And yet, now the government is saying,

13      well, you failed to disclose to the FARA unit what other people

14      did.   You failed to disclose that FTI, for example, had a media

15      plan and that they gave you a copy of it at one point.           They

16      failed to disclose that he -- he failed to disclose, according

17      to the government, that Mr. Manafort was behind that plan and

18      that it was part of an overall public relations effort he was

19      undertaking on behalf of the Yanukovych regime.

20                  Now, if those are the things that Mr. Craig is

21      alleged to have omitted, then why is it that FTI has filed a

22      registration statement that doesn't talk about any of those

23      things?    Their registration statement, if you read it, does not

24      reveal that Mr. Manafort was involved for the Yanukovych

25      regime, it doesn't reveal that there were other public
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 1      relations firm involved and the effort.         It doesn't mention

 2      anything other than the fact that Mr. Hawker had a meeting in

 3      New York with Mr. Craig and some others, and he had a few

 4      isolated contacts with the media.        We think it's a relevant and

 5      admissible document.

 6                  THE COURT:    Yes?

 7                  MR. CAMPOAMOR-SANCHEZ:      Your Honor, very briefly.

 8      But Mr. Hawker was not questioned by the FARA unit in 2012 or

 9      2013 or anything like that.

10                  Second, the suggestion that Mr. Hawker registered

11      because we wanted him to register is simply false.           And

12      Mr. Murphy knows that when we first interviewed Mr. Hawker in

13      this case, in January of 2019, and the 302 reflects, that the

14      government at that time informed him that we have been told

15      that the government was going to be seeking for him to

16      register, but it had nothing to do with the trial team or this

17      trial.

18                  In fact, the government agreed with the defense that

19      it would not seek to introduce evidence of the Skadden

20      settlement or of the registration of those parties because we

21      did not believe it relevant to the issues for the jury to

22      decide.

23                  But, I want to be clear that if that is the position

24      of the defense, then we are going to be asking the Court to be

25      asking us to elicit that evidence.        They claim that what is in
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 1      the registration is relevant.       Okay, well, then what is in the

 2      registration of the Skadden partners is relevant, what is in

 3      the Skadden settlement about Paul Manafort and Mr. Pinchuk and

 4      how this thing was set up is relevant, as well as those

 5      registrations.

 6                   And I -- my colleague corrected me.       Not every single

 7      Skadden witness registered; most of them.         That was a

 8      misstatement I made earlier.

 9                   So I want to be clear that if that is what the

10      defense intends to do, then under the agreement we're going to

11      be asking the Court permission to elicit that evidence in the

12      government's case-in-chief.

13                   THE COURT:   All right.    I'm not going to rule on this

14      right now.    It seems to me that you can -- you can ask Miss

15      Hunt whether she asked him those questions that you're saying

16      if she didn't ask him, then he didn't have any obligation to

17      volunteer it.     But I don't see that kind of a negotiated

18      post hoc registration of somebody else sheds light on what

19      would have had to have been disclosed and what was important to

20      the agency at the time.      And particularly with respect to the

21      law firm or Mr. Craig.

22                   And if you're going to argue that, I really do think

23      a better piece of evidence of what they expect a registration

24      statement to say, if he had to file one, would be the one that

25      the firm filed.     And, so, I don't see how you can open the door
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 1      a little bit and then close the door back.

 2                  So, I'm troubled about all that.        And I don't

 3      actually think it bears on any -- you've said several different

 4      things that you think it bears upon, and I'm not sure it bears

 5      on any of them.     And I'm also not sure I disagree that if

 6      that's what you're putting it in for, that it wouldn't open the

 7      door.

 8                  Yes?

 9                  MR. MURPHY:    Your Honor, I think it also bears on

10      Mr. Hawker's credibility.       He was not interviewed for the very

11      first time in the recent January of --

12                  THE COURT:    I don't have a problem with it if there's

13      some bias or some cross-examination that they made you feel --

14      you're a witness, because otherwise they would have prosecuted

15      you, that kind of thing; they made you a promise if you just

16      registered and you testified against him, that kind of, sort of

17      Giglio cross is different than look at the four corners of

18      this, and this is all I had to say, and that shows that that's

19      all Mr. Craig would have had to say and it bears on what his

20      intention was at the time.       That's a different story.

21                  I think if they twisted his arm and said here's your

22      choice, you go -- you know, we're going to bring a criminal

23      prosecution against you for failure to register, versus you get

24      to play on team U.S. Attorney's Office and be a witness and

25      just do this little civil registration, that's -- I'm not
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 1      precluding that.

 2                  MR. MURPHY:    Okay.   Thank you, Your Honor.        We'll

 3      play it as it goes.

 4                  THE COURT:    All right.

 5                  MR. MURPHY:    Thank you.

 6                  THE COURT:    All right.    Is there anything else

 7      anybody else wants to bring up before we get to my list of

 8      things to do?

 9                  All right.    Yesterday, for the reasons stated on the

10      record, the government's motion in limine No. 42 to exclude the

11      expert testimony was heard and it was granted in part with

12      respect to the first opinion set forth in the defendant's

13      notice.    The second opinion remained under advisement.          And

14      there's several arguments as to why it might be admissible and

15      as to why it might be inadmissible.        And one question is

16      whether it is relevant.      And one theory advanced by the defense

17      is that it bears on willfulness.

18                  I have some problems with what the relevance would be

19      of what a reasonable FARA practitioner would have believed

20      warranted registration.      But, I understand that there is some

21      potential relevance, since the allegation is that the purpose

22      of the scheme was to avoid registration.         However, it isn't

23      necessarily dispositive on the issue of whether the falsehoods

24      or the admissions were knowing and willful, since there is an

25      entirely separate obligation to be truthful when you talk to
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 1      the government under Section 1001, and that doesn't all arise

 2      under FARA.    And since I've ruled that the source of the duty

 3      to disclose wasn't just what FARA required, but the duty to be

 4      truthful and complete when you're being asked questions by law

 5      enforcement officials in connection with the set of

 6      obligations, and also that there was a further duty to state

 7      facts that would make statements you made not misleading, at

 8      the end of the day the reasonable practitioner FARA argument

 9      might have some relevance, but it doesn't get you all the way

10      there.

11                  A more serious problem, even if you grant that there

12      could be some relevance, is the issue of having a witness

13      instruct the jury as to what the law is.         I don't have to

14      summarize the law on that issue, it's set out not only in the

15      government's motion in limine, but quite thoroughly by the

16      defendant on pages 4 to 5 of docket 48, his motion in limine

17      regarding Heather Hunt.      And I'm not going to belabor that

18      point, but my ruling here and my thoughts about this issue are

19      informed by that very precedent, including the D.C. Circuit

20      case Burkhart versus WMATA, 12 F.3d 1207, at page 1213, D.C.

21      Circuit case out of 1997.

22                  I don't believe that this situation is analogous to

23      the cases the defendant has cited to me about custom and

24      practice in the industry.       But those cases turn on a clear

25      distinction between testimony about a fact and testimony about
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 1      how a law is interpreted or enforced.         I was very clear in the

 2      language I cited and quoted from extensively yesterday, which

 3      are cases that the defense is relying on, Leo and Safavian.

 4      I'm not going to repeat those chunks of opinions that are in

 5      the record, but I am specifically relying on those excerpts in

 6      connection with today's thoughts and rulings, as well.

 7                  I don't believe that the testimony that's being

 8      proffered in the second opinion is consistent with Safavian and

 9      Leo, much less clearly permitted by those cases, to have a

10      lawyer saying this is what reasonable lawyers believed based

11      upon how she, a lawyer, advises other lawyers on the law they

12      have to comply with.      Certainly sounds more like law than a

13      fact.   And I'm not sure it becomes a question of fact just

14      because she says as a matter of fact, this is what we all think

15      the law is, if the thinkers are lawyer.

16                  We've all already agreed that there's only one person

17      that can explain the law to the jury, and that's going to be me

18      in this trial.     The defendant cited United States versus

19      Bradley, 2006 Westlaw 8429691, which had a pretty good

20      discussion of the subtleties involved.         And it specifically

21      relied on Leo and the same paragraphs that I talked about

22      yesterday to differentiate testimony about what the law

23      requires, from testimony about industry custom and practice.

24      And at the end of the day, it excluded a considerable portion

25      of what the defendants were seeking to introduce in that case
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 1      on just that basis.

 2                  At page 4 of the opinion the court said:         Generally

 3      then, an expert's legal analysis of the facts of the case and

 4      his conclusions are inadmissible.        An expert or nonexpert

 5      opinion that amounts to a conclusion of law cannot properly be

 6      received in evidence because the determination of such

 7      questions is exclusively within the province of the court.

 8                  Hence, a court may admit expert testimony of business

 9      customs and practices where it will aid the trier of fact in

10      understanding the business in which the claims at issue arose,

11      but not about how a particular statute has come about, nor the

12      source and application of law.

13                  The hypothetical in the second opinion stated in the

14      notice seems to come perilously close to, if it doesn't run

15      right over that line.      The defense wants to ask her a

16      hypothetical that adds up all the facts in the case and then

17      asks her to apply the law to them.        So I don't think I can rule

18      on the admissibility of this testimony without a significantly

19      more detailed proffer and probably a hearing outside of the

20      presence of the jury.

21                  But even that is not the only problem.         We also have

22      the problem of Rule 74 and having a witness testify as to the

23      defendant's state of mind.       The government cited United States

24      versus Libby, 475 F.Supp.2d 75, at page 89, out of this

25      District in 2007.     It's not exactly on point, but -- about
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 1      experts, but it does touch on the problem of trying to get at a

 2      defendant's state of mind with information provided by someone

 3      else.

 4                  The defendant wanted to introduce the testimony of

 5      the people who provided the defendant with regular national

 6      intelligence briefings, the point being that he was so

 7      preoccupied with that very important stuff, that he wasn't

 8      thinking about the matters at issue in the case.           And the court

 9      excluded most of it and noted, in the absence of the

10      defendant's testimony or other evidence that could be

11      substituted for the defendant's testimony, allowing the

12      briefer's testimony to convey to the jury that the defendant

13      was more concerned about the issues in which they briefed him

14      than about the events and issues in this case, would have left

15      the government with no avenue to challenge that suggestion

16      through cross-examination.

17                  So it pointed out one of the problems of having a

18      witness talk about what's in the defendant's head when there's

19      no other reference to evidence about what's in the defendant's

20      head.

21                  But even more helpful to me, in thinking through this

22      issue, was, again, the case cited by the defendant.

23      United States versus Banki, B-A-N-K-I, 2010 Westlaw 1875690 out

24      of the Southern District in New York.         It involved two experts.

25      It was cited in the defendant's pleadings as showing the
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 1      testimony was permitted for both willfulness and materiality.

 2      But I don't think that was the holding and I don't think it

 3      really helps that position.       And it strongly supports adopting

 4      the very course I indicated I was considering yesterday.

 5                  The defendant was charged with conspiracy to violate

 6      the Iranian transaction regulations and the indictment included

 7      a charge of making a material false statement to the Office of

 8      Foreign Asset Control, OFAC, regarding the alleged monetary

 9      transactions.     It involved transfers to what the government was

10      referring to as hawala, H-A-W-A-L-A, to family members.          The

11      defendant claimed the family remittances were lawful under the

12      regulations; the government charged that he lied about the

13      source of the money and his role during interviews.

14                  The first proposed expert was the former director of

15      OFAC and that witness was proffered for both willfulness and

16      materiality, but he was not permitted to testify as to both.

17      With respect to the defendant's willfulness on the ITR charge,

18      they wanted to put in evidence that at that time the OFAC

19      policy was not to regulate family transactions, that the law

20      was being under enforced.       And the combination of the

21      under-enforcement and the customary nature of the transactions

22      could have led the defendant to reasonably conclude that the

23      transactions were okay.      It sounds almost exactly like the

24      opinion being proffered in this case.         And the court said, at

25      page 2, "Mr. Newcomb's testimony that OFAC ignored aspects of
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 1      the very law it was tasked with enforcing, standing alone,

 2      sheds no light on defendant's subjective knowledge of the

 3      legality of his alleged money transfers, absent defendant's own

 4      testimony or other direct evidence that he believed his conduct

 5      to be lawful, there is no basis on which the jury could

 6      properly infer anything about the defendant's state of mind

 7      from the opinion of this third-party expert witness who's

 8      likely never communicated with the defendant.

 9                  "Thus, if, but only if, there is prior evidence in

10      the record to establish a factual link between defendant's

11      state of mind and OFAC's under-enforcement policy, then

12      Mr. Newcomb may testify that, based on his specialized

13      knowledge of the inner workings of the agency and the relevant

14      expertise he gained in shaping and implementing the ITR, at the

15      time of his service, OFAC chose not to regulate noncommercial

16      family transfers involving Iran.        That testimony would be

17      relevant in that it may aid the jury in weighing the

18      credibility of defendant's alleged lack of knowledge regarding

19      the legality of his conduct."

20                  To be clear, Mr. Newcomb may not testify about the

21      legal requirements of the ITR or any other OFAC regulations.

22      This lack of a factual link between what Miss Jeffress is being

23      proffered to say and what is at issue is exactly what I was

24      talking about yesterday.

25                  Also, that court emphasized the critical importance
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 1      of not letting the expert's testimony stray into law.            Page 3,

 2      "Although the defense claims that this testimony relates to

 3      OFAC's policies, it may more accurately be characterized as

 4      Mr. Newcomb's construal of the law that OFAC enforces.           The

 5      proper interpretation of the regulation, the family remittance

 6      exception and its application to this case is a hotly contested

 7      legal matter to be decided only by the court.

 8                   "While Mr. Newcomb's opinion of the law as written

 9      did not require action by a United States depository

10      institution may be relevant to the court's charge of law, it

11      can have no bearing on any factual matter before the jury.

12      It's not for the jury to decide what the ITR means, and whether

13      its language requires or simply permits transfers by U.S.

14      banks.    Instead, the jury's task is only to determine whether

15      defendant's alleged conduct violates the law as laid out by the

16      court."

17                   This is a case that was provided to me by the

18      defendant.    What the witness was permitted to testify about,

19      given his prior experience, was materiality.          So it's not a

20      good case on the willfulness issue.

21                   The second expert was an FBI agent familiar with the

22      workings of hawala and he was going to differentiate the facts

23      in this case from the criminal organizations he had already

24      investigated in his career.       And the court specifically

25      distinguished what he was planning to testify to and permitted
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 1      it because it was not going to deal with the defendant's state

 2      of mind.

 3                  Here, defense has made it clear that what Craig must

 4      have been thinking at that time is what they want the jury to

 5      glean from the expert's testimony.        And it also acknowledges

 6      that she has no personal knowledge of what he did or didn't

 7      know and what he did or didn't think.         So the relevant

 8      question, a fact in issue in this case, is his subjective

 9      knowledge and his subjective state of mind, and there's no

10      indication that her opinion is relevant to that at this point.

11                  The issue is what he thought, not whether what he

12      thought was reasonable.      What other reasonable practitioners

13      thought about the registration obligations is not the issue,

14      particularly in this case where there is considerable evidence

15      that the defendant was attuned to and concerned specifically

16      about FARA.    And in particular, FARA obligation that could

17      arise out of PR activities.       And that he turned to others

18      within his own firm for advice.        That advice was given and he

19      set out some of his own thoughts in emails.

20                  This evidence could, as in the Banki case, possibly

21      become relevant if, at the close of the defendant's case, it is

22      clear that the defendant's knowing and willful argument turns

23      upon his knowledge of what, in fact, other FARA practitioners

24      were doing in similar circumstances, assuming they were

25      similar.    At that point, what the expert has to say could be
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 1      relevant to the credibility of what he was saying he understood

 2      people thought at the time.

 3                  I'm not saying he necessarily has to testify, there

 4      may be other witnesses or exhibits that reflect what he knew or

 5      relied upon.     So, since I can't tell, I have to defer ruling on

 6      the admissibility of an opinion of this nature.

 7                  Also, at that point, if it's possibly relevant, which

 8      it isn't yet, its admissibility is going to turn on whether the

 9      opinion steers clear of the line between law and custom and

10      practice, and it will depend on whether I conclude that the

11      defendant has established her credentials to speak to industry

12      practice in 2012 and 2013.

13                  So, therefore, the -- any mention of the expert

14      testimony is excluded at this time, the testimony is excluded

15      at this time, and if you want to proffer her as an expert, then

16      you're going to have to do a detailed proffer and we will take

17      it up at the close of the defense case.

18                  There is one other issue that you indicated yesterday

19      you would like her to be able to testify to, and that is

20      materiality.     And as I said yesterday, there is case law that

21      suggests this could be a subject of expert testimony in a false

22      statement case because it is an objective standard.              It is an

23      objective standard concerning what would be reasonable for the

24      decision-maker to be thinking about.         It doesn't deal with the

25      state of mind of the speaker.
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 1                   But the concern that was raised at yesterday's

 2      hearing was, has she ever been proffered as a witness on this

 3      subject, much less been qualified as a witness on this subject.

 4      And I was asked to please consider not just the docket 40, the

 5      notice of her proposed testimony, but also the exchange of

 6      correspondence between the two sides.         So I spent some time

 7      with that.

 8                   Exhibit E to the government's motion in limine,

 9      docket 42-5 page 3, the U.S. Attorney's Office had written a

10      letter to the defense team, dated June 11th, 2019, after the

11      notice was docketed.      And it said, "Your disclosure included

12      two other areas of expert testimony by Ms. Jeffress as follows:

13      Responding to the expected testimony of government witnesses at

14      trial," and talked about more detailed testimony based on other

15      documents.    In other words, it talked about that carry-over

16      paragraph on the second page of the notice that we talked about

17      yesterday.

18                   They said, "Please identify with specificity what

19      additional opinions Ms. Jeffress may provide."          And then they

20      also asked you to provide her qualifications to offer such

21      opinions.

22                   And Mr. Murphy wrote a letter in response, it's

23      Exhibit F, docket 42-6 it's dated June 17, 2019, he said,

24      quote, We reserve the right to have Miss Jeffress offer

25      testimony that would respond to the testimony of Heather Hunt
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 1      period, close quote.

 2                  That is the entire extent of any description of the

 3      nature and content of any opinion on the materiality of the

 4      alleged false statements or omissions in the letter sent on

 5      June 17th, 2019.

 6                  Moreover, the description of her qualifications

 7      begins, You have questions about her qualifications to offer

 8      the opinions described in the disclosure.         What were the

 9      opinions described in the disclosure?         What a reasonable

10      practitioner would have believed about registration

11      obligations.

12                  And then you went on to say that she was unaware of

13      any significant developments that would have changed the

14      approach of FARA practitioners with respect to their advice

15      concerning the registration obligations created by the statute.

16                  The next paragraph, The materials that Miss Jeffress

17      may rely upon for the opinions described in the disclosure

18      statement about what a reasonable practitioner would have

19      believed about the scope of the FARA registration requirements

20      include.    In other words, neither the notice, nor the

21      description, or this more detailed response about the inquiry

22      into her qualifications put the defendant on notice that she

23      was being proffered as an expert about what facts had a natural

24      tendency to influence, or were capable of influencing, or were

25      reasonably likely to influence the decision-makers in making a
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 1      determination.

 2                  The upshot of the notice and the supplementary email

 3      was to underscore her qualifications and her reliability as an

 4      expert on what a reasonable practitioner would think about

 5      whether or not registration was required, not what a reasonable

 6      FARA unit decision-maker would want to know.

 7                  The witness was never a FARA-compliance regulatory

 8      person.    Yes, at the U.S. Attorney's Office she handled a few

 9      cases with FARA implications from the criminal enforcement

10      side.   And that's different.      And the experience set forth,

11      while it demonstrates that she became quite well-versed in FARA

12      after 2014, doesn't address what the basis would be for an

13      opinion concerning what the regulators did or did not find

14      influential at that time.

15                  I'm not saying she couldn't qualify.        It could be

16      that she has significant basis to opine on the question of what

17      regulators find influential from her experience trying to

18      influence them, and that the lack of personal experience on

19      that side of that table would go to the weight and not the

20      admissibility of such an opinion.        But I don't have to decide

21      and I don't have to have a Daubert hearing to decide either

22      because the defense did not put the government on notice that

23      they planned to introduce her as an expert on what people think

24      and find influential on that side of the table in general, or

25      what her opinion was on the materiality of even one, much less
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 1      all ten of the facts in paragraph 63, or what experience she

 2      would be drawing upon in reaching that conclusion.

 3                  Therefore, there has been no compliance with Rule

 4      16(b)(1)(C) in connection with any opinion that would bear on

 5      materiality.     The rule says:    Upon the government request

 6      defense must give a written summary of any testimony that the

 7      defendant intends to use under Rule 702, -3 or -5.           There's no

 8      question it was requested.

 9                  The rule then says, "This summary must describe the

10      witness's opinion, the bases and reasons for those opinions,

11      and the witnesses qualifications."        Why?   Not only because it

12      would be nice to know, because people like to write out their

13      cross-examinations in advance, but because with respect to an

14      expert, the opposing party needs time to consider whether it

15      wants to refute that person's opinion with the opinion of their

16      own expert, and to identify and secure their own expert.

17                  Putting aside whether all that was provided in full

18      with respect to other opinions, it was absolutely not provided

19      regarding materiality and, therefore, she cannot opine on that

20      subject.

21                  And so, therefore, with all of that, I believe I've

22      ruled on all of the open issues with respect to the motion in

23      limine to exclude the expert's testimony.         Opinion No. 1 is

24      excluded, materiality is excluded.        Opinion No. 2 is excluded

25      at this point, but I will reconsider, at the conclusion of the
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 1      defense case, if there's been a predicate for its admissibility

 2      and then we'll determine at that point what more is needed;

 3      whether we need to hear her outside of the presence of the jury

 4      so I can find out if she's going to testify to a law or fact,

 5      and whether we need a voir dire on this subject.

 6                  That also bears on that portion of the

 7      non-registration evidence, dockets 76 and 77, and also a little

 8      bit docket 44, the selective prosecution issues that still have

 9      been left behind.     Based on the ruling in limine to exclude the

10      expert, there's no basis to use the fact that other firms did

11      not register in her testimony, so it won't be permitted for

12      that purpose.

13                  Regarding the defendant's intent, it would only come

14      in if it turns out there's evidence that he knew about it.           And

15      again, it wouldn't be just because somebody didn't register who

16      prepared a report, they would have to tie it to defendant's

17      subjective understanding and the PR aspects of the activities.

18                  So those are also still -- I believe the ruling was

19      made yesterday, granted in part and denied in part, and I think

20      that's the way it stands.

21                  Defendant's motion in limine No. 46 seeking to

22      exclude testimony concerning alleged false statements made to

23      the Office of Special Counsel was also heard yesterday.          I

24      find, pursuant to Rule 401, Rule 404(b)(2) that the evidence

25      that defendant allegedly repeated false and misleading
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 1      information in an interview with the Special Counsel's Office

 2      is relevant to an issue to be determined by the jury, and that

 3      is whether the defendant knowingly and willfully made the false

 4      or misleading statements and omissions in 2012.

 5                  I don't find, under Rule 403, that this probative

 6      value is substantially outweighed by a danger of unfair

 7      prejudice, confusing or misleading the jury, or undue delay.

 8      So, therefore, I'm going to permit the testimony.           And so that

 9      motion in limine is denied.

10                  Defendant's motion in limine 47 seeking to exclude

11      evidence related to payments to the law firm by the Ukrainian

12      Ministry of Justice, including a number of exhibits, the

13      related emails and invoices, was also heard.          While the

14      decision to head down this path gives rise to serious concerns

15      about lengthening and overcomplicating this trial -- and I

16      strongly encourage the government to think about how best to

17      streamline its presentation, even if it wants to get into this

18      issue to some extent, particularly in its case-in-chief -- the

19      streamlining would be beneficial.

20                  I think the government has proffered sufficient

21      grounds to find that the allegation, as yet unproven, to be

22      relevant to the alleged purpose and motivation underlying the

23      alleged scheme to defraud.       That is, to avoid the requirement

24      to unmask the individual private donor funding the firm's work.

25      It's an integral part of the story of this representation and
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 1      whether the defendant sought to keep any aspects of it secret.

 2                  And what we really have, what was explained to me

 3      yesterday, is not so much a relevance dispute about the

 4      evidence, but a factual dispute between the parties concerning

 5      what actually happened and what prompted the creation of the

 6      invoice in August of 2012.       It's true that the evidence

 7      wouldn't be relevant if it was simply what the defense

 8      described it to me to be; a bill for outstanding time that

 9      hadn't yet been paid for.

10                  But to exclude it as irrelevant would mean that I

11      would have to make the factual determination and draw

12      inferences from the cold paper record, without the benefit of

13      the testimony of witnesses, the opportunity to observe their

14      demeanor or hear their cross-examination, and I would be making

15      a factual determination, and that's not my role in this case.

16                  Since I can't and shouldn't be making my own

17      determination based on the record before me, I believe the

18      government has established the relevance of the evidence under

19      Rule 401 and I don't believe that the relevance has been

20      substantially outweighed by the risk of confusion or wasting

21      time under Rule 403.      And so the motion to exclude the evidence

22      will be denied.

23                  In light of that ruling, all the exhibits objected to

24      on the basis of this motion in limine, which I think the

25      objection is noted in the exhibit list as MIL procurement, for
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 1      any exhibit for which that was the sole objection -- those

 2      involving hearsay it will be considered separately -- they're

 3      admitted.    All exhibits to which there was no other

 4      objection -- all government exhibits to which there was no

 5      other objection noted are admitted.        All defense exhibits to

 6      which there was no objection noted are admitted.

 7                  That doesn't mean, by a long shot, that I think it

 8      makes sense for either side to use them all.          I believe that

 9      even for issues that you believe are important to your case,

10      there's a certain amount of getting into the weeds and overkill

11      and going down tangents and paths that may or may not make

12      strategic sense.     But again, that's not my call.        They are

13      admitted because they are not objected to.

14                  And so what I want to do now is talk about the

15      remainder of the exhibits that are in dispute.          Sadly, one by

16      one.

17                  Yes, Mr. Taylor.

18                  MR. TAYLOR:    Your Honor, may I address your recent

19      remarks about the admission of exhibits?

20                  THE COURT:    Yes.

21                  MR. TAYLOR:    I'm always worried about waiver and not

22      making clear what our legal position is.         I want to make clear

23      that our -- that the absence of objection to any of these

24      exhibits is without any concession on the legal arguments which

25      we had put to the Court, and which you have, in some part,
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 1      overruled.

 2                   Secondly, while you correctly note the absence of

 3      objection to certain exhibits and you may or may not overrule

 4      objections to others here, it does not seem to me that that

 5      authorizes either lawyers for either side to simply walk around

 6      with and hold a document and say, Here, I want to show it to

 7      the jury.    It seems to me that that -- there has to be a

 8      foundation established for such a document.

 9                   THE COURT:    The exhibits to which you said that they

10      hadn't -- there was no foundation, you objected on that basis.

11      My pretrial order specifically said if you don't object to the

12      admissibility, if you don't object to the foundation, if you

13      don't object to the authenticity, it's going to be in evidence.

14      And I told you the whole purpose of this exercise --

15                   MR. TAYLOR:   I understand.

16                   THE COURT:    -- is to say what's in and what's out,

17      and not to spend the trial doing it.

18                   MR. TAYLOR:   Nor am I suggesting that you should.

19      Just seems to me that the --

20                   THE COURT:    I haven't ruled on anything to which you

21      said no foundation, hearsay, irrelevant, incomplete.             I've only

22      ruled on the ones that you said no objection.

23                   MR. TAYLOR:   Understand.

24                   THE COURT:    So you're bound by that.

25                   MR. TAYLOR:   Understand.
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 1                  THE COURT:    And it's now in evidence and he can say,

 2      Miss Hunt, I'm slowing you Exhibit 3.

 3                  MR. TAYLOR:    That's -- that's fine.      That's fine.

 4                  THE COURT:    Okay.   And you can, too.

 5                  MR. TAYLOR:    And we probably will.

 6                  THE COURT:    All right.

 7                  MR. TAYLOR:    But I think he needs to show it to

 8      Ms. Hunt, rather than simply stand up and show it to the jury.

 9                  THE COURT:    Are you going to be using screens to show

10      your -- show the witness -- if you want to say, Ms. Hunt, I'm

11      showing you what's been admitted in evidence as Government's

12      Exhibit 3, and put it on -- are you saying we have to go

13      through a little exercise, if he puts it on --

14                  MR. TAYLOR:    No.

15                  THE COURT:    Okay.   Well, if he puts them in binders,

16      he can say, Jury, you can open your binder -- which I hope

17      you're not doing, given the number of binders -- to No. 3 and

18      turn to Tab 3, and they can look at it because it's in

19      evidence.    And you can do that in your case-in-chief, too.          And

20      you can do it in your cross-examination of their witnesses

21      also.   So, we're not going to be passing things down the jury

22      box.

23                  MR. TAYLOR:    I'm not suggesting that, Your Honor.

24                  THE COURT:    Okay.

25                  MR. TAYLOR:    All I'm saying is if these things for
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 1      which there's no objection with the witness on the stand asking

 2      what is this, you know, testify about, that's one thing.         What

 3      I'm worried about is that a case which appears to be a heavy

 4      document case, that without any explanation for an exhibit, it

 5      would --

 6                   THE COURT:    No, they're not going to the jury room at

 7      the close of the trial if they haven't been used in some way

 8      during the trial.

 9                   MR. TAYLOR:   That's the point --

10                   THE COURT:    Okay.   Everybody understands that.

11                   MR. CAMPOAMOR-SANCHEZ:      Yes, yes.

12                   THE COURT:    At the end of the day, before anything

13      goes to the jury room, we're going to go through this list with

14      Mr. Haley, and if Exhibit 3, which has been admitted without

15      objection, was not used in the trial, it's not going to the

16      jury room.

17                   MR. TAYLOR:   All right.    Thank you.

18                   THE COURT:    I did not understand what you were

19      saying.

20                   MR. TAYLOR:   Absolutely.

21                   THE COURT:    No problem.   Glad we straightened that.

22                   MR. CAMPOAMOR-SANCHEZ:      Before we get to the exhibit,

23      I had a clarifying question about the order, about the motions.

24      On the motion to exclude Miss Jeffress, I know that the Court

25      has -- words are failing me.       It's not going to rule on that
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 1      one piece.    The Court makes --

 2                   THE COURT:   For now I'm excluding it, so they know

 3      they can't talk about it in their opening.          But that's without

 4      prejudice.    If it becomes relevant during -- by the close of

 5      the defense case, they can raise it and we'll talk about it

 6      again fresh.

 7                   MR. CAMPOAMOR-SANCHEZ:     Thank you.    That's what I

 8      understood.

 9                   One question is, I believe I heard the Court, as I

10      have in my notes, that they have to make a proffer.              Is there

11      going to be a deadline by which -- so before we reach the end

12      of the defense case, we all know what she's going to

13      potentially say, if the Court were to find that it could indeed

14      become relevant.     In other words --

15                   THE COURT:   I'm not going -- we're not going to even

16      talk about it until the defense case is over.          Then, I'm not

17      going to say that before the defense case is over, they'll have

18      no put something in writing.       It may not have to be in writing.

19      It may be they stand up and say what opinion it is they want to

20      elicit and we can determine from that right then and there what

21      the answer is, or we have to put her on outside of the presence

22      of the jury and do it --

23                   MR. CAMPOAMOR-SANCHEZ:     It's just as the Court

24      correctly noted --

25                   THE COURT:   We have a proffer, a written proffer that
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 1      she would say, essentially, if you would do a hypothetical of

 2      the facts of what happened, that a reasonable practitioner

 3      would not believe that they had to register.

 4                  MR. CAMPOAMOR-SANCHEZ:      Okay.   Very well.

 5                  THE COURT:    Right now that's the proffer that we're

 6      working with.

 7                  MR. CAMPOAMOR-SANCHEZ:      Okay.   Thank you.

 8                  THE COURT:    All right.    I have one question before we

 9      get into this discussion about the exhibits, and that is that

10      there was a tremendous number of objections on both sides that

11      the basis was completeness.       I certainly understand Rule 106,

12      that a party can introduce any other part of a writing or

13      another writing that ought, in fairness, to be considered, if

14      something would be incomplete without it.

15                  But, with respect to every time somebody said

16      "completeness," unless I missed it somewhere, there doesn't

17      seem to be a reference to what, if anything, would make it

18      complete.    And, so, I'm not sure what I'm supposed to do with

19      all of those.

20                  MR. ABELSON:    Yeah.   Fair questions, Your Honor.

21                  THE COURT:    Can you explain them?

22                  MR. ABELSON:    So, a few points.      First of all, when

23      we communicated our completeness objections to the government,

24      we explained what would cure the completeness objection.         In

25      other words, Government Exhibit X is the more complete version,
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 1      or something like that.      For whatever reason they didn't

 2      include it, which is fine, in the list that was submitted.            But

 3      we have communicated that to the government.          That's number

 4      one.

 5                   Number two is we did go back through all of our

 6      completeness objections again, and we have kept some of them

 7      because we think that a version of an email string, for

 8      example, if it's shown to a witness, if that version is shown,

 9      it is incomplete in the sense that they're cutting off the

10      conversation mid-conversation.        There are others that we've

11      withdrawn.    And so I can run down those now, or as we get to

12      them, I can let you know.

13                   THE COURT:   No.    Tell me the ones you withdraw now,

14      because that will make me happy.

15                   MR. ABELSON:   Yes.    I'm happy to do so.     And I

16      apologize that we didn't do this earlier.

17                   THE COURT:   Is the same going to happen in the other

18      direction?    Have you withdrawn any?       You didn't have very many

19      completes, to tell you the truth.

20                   MR. CAMPOAMOR-SANCHEZ:     Your Honor, we did not.

21                   MR. McCULLOUGH:     Your Honor, we had three, and I

22      would be happy to address those.

23                   THE COURT:   All right.    Go ahead.

24                   MR. ABELSON:   8.   They're all, obviously, all

25      government exhibit numbers.        8, 33.
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 1                   THE COURT:     No, 33 is withdrawn.

 2                   MR. ABELSON:     Withdrawn.      I apologize.

 3                   34.    35.   Thank you.

 4                   So 34, 35.     106.

 5                   THE COURT:     Okay.

 6                   MR. ABELSON:     115, 117, 128 -- no.      I'm sorry.   I'm

 7      sorry, Your Honor.        Court's indulgence.     I need to make sure

 8      I'm looking at the right list.

 9                   130.

10                   THE COURT:     Is 128 in or out?

11                   MR. ABELSON:     128, we've withdrawn that completeness

12      objection.

13                   THE COURT:     130.    Okay.

14                   MR. ABELSON:     133, 149, 151.      Our completeness

15      objection to 168, 201, 209, 251.            Our completeness objection to

16      256.

17                   THE COURT:     All right.      Well, we have to talk about

18      it anyway.

19                   MR. ABELSON:     Yeah.    260, 265, 273, 567.

20                   THE COURT:     Let me get to that page.      Okay.

21                   MR. ABELSON:     599, 603, and 609.

22                   THE COURT:     All right.      So with respect to all of

23      those exhibits, with the exception of the two that had some

24      other basis for the objection, one of which was 168 and the

25      other was, I believe, 256, they now are admitted because the
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 1      only basis for the objection has been --

 2                   MR. ABELSON:   Miss Gaston helpfully caught 115, to

 3      which we object on relevance grounds.

 4                   THE COURT:   And 115.    Otherwise all the ones you just

 5      mentioned are now included in the pile that is admitted.

 6                   If the government wants to tell me about any

 7      objections that have been withdrawn, you can do that, too.

 8                   MR. CAMPOAMOR-SANCHEZ:     Your Honor, we did not

 9      withdraw any new ones that we just did from the other day.

10                   THE COURT:   Okay.   All right.

11                   Well, then, my question is, what are we doing about

12      the ones with respect to the completeness objections?            No one

13      has given me the thing that you're saying is necessary for it

14      to be complete.     Or did you mark them as exhibits in your own

15      case?   Or are they also already marked as exhibits in this

16      case?   And how am I supposed to rule on a completeness

17      objection?

18                   MR. ABELSON:   I'm happy to run through those.

19                   THE COURT:   Just tell me in general, where is the

20      information that I need to rule on the completeness objection?

21      I just have an email string and the word "completeness" on the

22      piece of paper.

23                   MR. ABELSON:   Right.    So, with the exception of, I

24      think, three, all of the more complete versions that would cure

25      this objection are -- have been marked as government or defense
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 1      exhibits.    So I can -- if it would -- do you want to run

 2      through those --

 3                  THE COURT:    I'm not going to sit here and have you

 4      rule a list to me.      I'm not going to rule on any completeness

 5      objections right now.      What you need to do, both sides, if

 6      there's any outstanding completeness objections from your point

 7      of view, you need to file a document saying we object to this

 8      on a completeness basis and we believe that government's

 9      exhibit X or defense exhibit Y needs to be substituted for it

10      so I can rule.     Which, I feel like might have even been in the

11      pretrial order, but it might be something that I do in civil

12      cases that I didn't do here because it's usually depositions

13      where this comes up.

14                  But there's no point in my trying to put them side by

15      side while you watch me read.       And I don't think I really need

16      to hear argument on whether an extra email belonged to be in

17      there because it's part of the chain, or not.          I'll look.

18                  I mean, I did see there were some places where you

19      made a completeness objection because somebody wasn't in the

20      chain, and then the next exhibit had the next one on the chain.

21      So I think I'll be able to follow it just from what you've

22      given to me.     And I'll put aside the completeness ones for now

23      because I haven't had a chance to look at any of it.

24                  MR. ABELSON:    Understood, thank you.

25                  THE COURT:    Yes.
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 1                  MR. McCULLOUGH:     Your Honor, we will submit the

 2      pleading as you addressed.        I did want to address the two

 3      completeness objections at the beginning of ours because I

 4      think there is some confusion over it, just because of the

 5      dating of those documents.        And I think it may be more

 6      helpful -- it may be productive to have a very brief dialogue,

 7      and we'll happily submit a pleading, as well.

 8                  THE COURT:    Which of the ones -- 19 and 23?

 9                  MR. McCULLOUGH:     Defense Exhibits 19 and 23.

10                  THE COURT:    Okay.    Yes I found that confusing.

11                  MR. McCULLOUGH:     The completeness objection as to

12      these is that Defense Exhibit 19, which is dated April -- it's

13      a letter dated April 5th, 2012.         That letter was not created

14      until 2013.    It was not signed until 2013.        And I can point you

15      to -- this is Government Exhibit 607 that's coming up.

16                  THE COURT:    That's the one that's the subject of the

17      issue we talked about earlier.

18                  MR. McCULLOUGH:     It is part of the payment motion in

19      limine.    But this -- the issue is that the April 5th, letter,

20      April 5th 2012, was not completed until 2013.          And that's shown

21      in exhibit --

22                  MR. CAMPOAMOR-SANCHEZ:       The monitor is on, but you

23      can't see it.

24                  THE COURT:    I know what you're talking about.

25                  MR. McCULLOUGH:     Okay.    And, Your Honor, so it's
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 1      Government's Exhibit 607, which is the first time that we see

 2      that letter completed.      That letter is then later submitted to

 3      the FARA unit by letter of June 3rd, 2013, and that's

 4      Government Exhibit 004.      So, the issue is that this, as it

 5      appears in defense --

 6                  THE COURT:    004.

 7                  MR. McCULLOUGH:      Government Exhibit 004, that's the

 8      letter that --

 9                  THE COURT:    Probably should just call that 4.

10                  MR. McCULLOUGH:      4.   Sorry.   That letter was then

11      submitted to the FARA unit on June 3rd, 2013.          And here's the

12      issue, here's why it becomes so confusing, Your Honor, it's

13      because then Defense Exhibit 23, which is dated -- is a letter

14      dated April 10th, 2012, that document was actually -- was

15      actually created in 2012.        It appears that it was sent by email

16      to the government of Ukraine on -- I believe it's March 25th.

17      And I've got that --

18                  MR. CAMPOAMOR-SANCHEZ:      May.

19                  MR. McCULLOUGH:      Sorry, May 25th.    I've got that

20      document here, as well.

21                  THE COURT:    But it wasn't signed and sent back.

22                  MR. McCULLOUGH:      It was not signed and sent back.

23                  THE COURT:    All right.    So I think --

24                  MR. McCULLOUGH:      So we have both of these letters

25      attached to other things.        We have them attached to --
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 1                  THE COURT:    So aren't we really talking more about

 2      relevance than completeness?

 3                  MR. McCULLOUGH:      Well, I think it is completeness to

 4      the extent that it is misleading to have the letter appear in

 5      the defense exhibit binder in the chronology at April 5th, 2012

 6      when, for instance, defendant -- Defense Exhibit 19 was not

 7      actually created until March of 2013.         So I think to represent

 8      when that document was created, it should be attached to the

 9      emails in which it's first found.

10                  THE COURT:    All right.    We can take that up when we

11      get to your objections here.       I don't think these are quite

12      subject to the same issue I was talking about before, which is

13      more garden variety rule -- I want to say completeness -- that

14      I can't rule on without what the proposed complete document

15      would be.    So it looks as if it's only the defense that needs

16      to give me that, and that -- I'm not going to talk then, right

17      now, about anything for which completeness was the only

18      objection on your list.

19                  MR. McCULLOUGH:      Understood, Your Honor.     And just --

20                  THE COURT:    Thank you.

21                  MR. McCULLOUGH:      Knowing the confusion that arose

22      from those, we just wanted to broach it.

23                  THE COURT:    Somebody -- you both look -- are you just

24      leaning in, or are you about to get up?

25                  MR. TAYLOR:    No.
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 1                   THE COURT:    All right.   I'm going to see if this will

 2      cooperate.    It keeps turning itself off.

 3                   And there is perhaps a similar sort of objection, but

 4      the first exhibit to which there's an objection is Government's

 5      Exhibit 8.

 6                   MR. ABELSON:    Your Honor, that was one that was --

 7                   THE COURT:    Was withdrawn.

 8                   MR. ABELSON:    Completeness objection that was

 9      withdrawn.

10                   THE COURT:    I put a cross through it, but it ran into

11      a note that I wrote in the margin and I didn't realize that's

12      what it was.     Okay.    Never mind.

13                   Okay.   Government's 9 and 10 also seem to be kind of

14      similar to 452 through 457.       They're identified as document

15      history reports.     I don't know what they are, and I'm not sure

16      I understand the nature of the objection, but lacks foundation

17      seems like a good start.       So, can you tell me what they are and

18      then maybe I can find out why they're admissible or

19      inadmissible?

20                   MR. CAMPOAMOR-SANCHEZ:     Yes, Your Honor.     So the

21      Government's Exhibit 9 and 10 are document history reports for

22      the draft letter that Mr. Craig was working on and modifying.

23      And that being the draft letter that was ultimately not

24      submitted to the FARA unit.       I don't know if the Court may

25      recall from the indictment --
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 1                  THE COURT:    I know which one you're talking about.

 2                  MR. CAMPOAMOR-SANCHEZ:      And so, in terms of the

 3      foundation, we have a witness from Skadden that can

 4      authenticate and lay the foundation for this document; that is,

 5      that it is a true and accurate summary of -- that demonstrates

 6      and shows when Mr. Craig opened or edited that document that

 7      was never sent, and how many times and when it happened.

 8                  The parties, so that the Court knows, are actually

 9      working on a stipulation about all these document histories.

10      So there may ultimately be agreement as to that.

11                  THE COURT:    All right.    But if not, then those

12      exhibits would require that kind of authentication and

13      foundation before I can rule them in evidence.

14                  MR. CAMPOAMOR-SANCHEZ:      Correct.    And we have the

15      witness to do that.

16                  THE COURT:    Okay.   All right.    What would be the

17      hearsay objection to them?

18                  MR. ABELSON:    Well, Your Honor, first of all --

19      should I come up here or --

20                  THE COURT:    I think so.    I mean, actually, if you've

21      got all your exhibits in front of you and you want to sit there

22      with the microphone, if both of you want to do that for this

23      part of this exercise, that's fine with me.          But I don't know

24      that you're near a mic -- okay.

25                  MR. ABELSON:    Yeah.   That's fine.     And also just to
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 1      explain, I'll be handling some of the exhibits on the defense

 2      side and Mr. Murphy will be handling some.

 3                   So, as Mr. Campoamor-Sanchez said, the parties are

 4      working out and I think are very close to finalizing a

 5      stipulation about the editing of some of the documents on

 6      Skadden's document management system.

 7                   The relevant facts from any of those document history

 8      metadata charts, which are what these are, is reflected in the

 9      stipulation.     And our position is, if there's a fact in these

10      documents that is not in that stipulation, it is not relevant.

11      So that is number -- so as to relevance, we think that the

12      stipulation will obviate the relevance of any of these

13      documents.

14                   As to -- similar as to foundation, what we're

15      stipulating as to what these are in the stipulation, assuming

16      we reach agreement on that -- so again, you don't need the

17      document, and they don't need to lay foundation for a document

18      as to which -- as the relevant facts from which we have -- will

19      have reached, I expect, an agreement.

20                   THE COURT:   All right.    My question actually was what

21      was the -- what was the hearsay objection that you had in

22      there?   But I think -- and is it fair to say that this

23      conversation also covers 452, 453, 454, all the way up to 457.

24                   MR. CAMPOAMOR-SANCHEZ:     It does, Your Honor.

25      Although that relates to a different document.          So that's
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 1      actually the letter that was sent by Mr. Craig in June of 2013.

 2      So those other documents in the later series that the Court has

 3      just quoted are about the letter that Mr. Craig worked on and

 4      ultimately did send, the June letter, of 2013.          So again, shows

 5      the same kind of information for that different document.

 6                  THE COURT:    Okay.    So with respect to all of those

 7      exhibits, I'm going to defer ruling on their admissibility,

 8      whether they'll become admissible or unnecessary based on

 9      whatever you stipulate to.        Or if you have to move them in

10      without a stipulation, then you'll have to lay a foundation and

11      we'll take it up at that time.

12                  MR. CAMPOAMOR-SANCHEZ:      And, Your Honor, so we might

13      reach a stipulation, but I think we still have a difference of

14      opinion of the parties.      As the Court heard, the way we have

15      drafted the stipulation is that explaining what this means, but

16      then making reference to the government exhibits where the jury

17      can find that information that the parties are explaining.         And

18      so we would want these documents in evidence so the jury could

19      have the stipulation, but also if they wanted, they could look

20      at the document.

21                  THE COURT:    The metadata document.

22                  MR. CAMPOAMOR-SANCHEZ:      Correct.

23                  THE COURT:    All right.    Well, you're looking at him

24      and he's looking at you, and so I don't know that I need to be

25      part of this three-way conversation until we know what you've
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 1      stipulated to and what you haven't.        And if you still haven't

 2      gotten to the point of whether these come in evidence or not,

 3      then I'll take it up at the time you try to use them.

 4                   MR. CAMPOAMOR-SANCHEZ:     Very well.

 5                   THE COURT:    Because I don't want to rule on issues

 6      that I don't even know are in issue at this point.

 7                   All right.    Exhibits 14 through 19 are blank forms,

 8      to be submitted in connection with FARA registration.            Why are

 9      they irrelevant?

10                   MR. ABELSON:   Your Honor, it depends on the purpose

11      for which they're offering them.        Our position, as you know, is

12      that these forms don't pose a duty for purposes of this case.

13      So, we think they would be irrelevant, if that's the purpose

14      for which they're offered.       If there's some other purpose that

15      they've identified, we can talk about that.

16                   THE COURT:    Well, I just want to make sure that now

17      I've ruled on the duty, that you still think it's a question of

18      law and you're not going to ask -- you don't want the jury to

19      decide it.

20                   MR. TAYLOR:    May I?

21                   MR. ABELSON:   I'll let Mr. Taylor handle that.

22                   THE COURT:    I just want to make sure you hadn't

23      changed your mind on that issue as we go forward.

24                   MR. TAYLOR:    Well, Your Honor, the critical question

25      in this case is whether Mr. Craig believed the law required him
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 1      to register.

 2                  THE COURT:    No, it's not.

 3                  MR. TAYLOR:    May I?

 4                  THE COURT:    Okay.   But I think we've pretty clearly

 5      established that that's not.

 6                  MR. TAYLOR:    If he believed the law did not require

 7      him to register, then his motive is quite a different thing

 8      from if he believed the law did require him to register.

 9                  And, I believe what you held yesterday is that the

10      duty from Section 612 arises if you are a foreign agent.         So,

11      his knowledge of whether he has such a duty, which is an

12      element, depends upon whether he believed the law required him

13      to register.

14                  THE COURT:    I think I found that circular.

15                  MR. TAYLOR:    Am I wrong?

16                  THE COURT:    I'm not going to sit here right now and

17      paraphrase a 50-page opinion.

18                  MR. TAYLOR:    I beg your pardon.      I beg your pardon.

19                  THE COURT:    And I really just wanted to know if --

20      well, I don't even need to ask.        I think the defense has made

21      it quite clear that the jury should not be deciding whether he

22      had a duty to disclose.      That was a legal question underlying

23      the legitimacy of having an omissions count in the first place.

24                  MR. TAYLOR:    That's correct.

25                  THE COURT:    And the question is, for the jury, is did
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 1      he violate a legal duty, that I get to tell them what it was,

 2      or not?    And even more importantly, was what he said true or

 3      what he said false, or was it misleading because he omitted

 4      information?     And did he omit information and -- but all of

 5      that is only to answer the one question, and the one question

 6      that you have on your verdict form, which is, have they proved

 7      beyond a reasonable doubt that he knowingly and willfully

 8      engaged in a scheme to defraud by doing all those things?

 9                  MR. TAYLOR:    I just don't see how you can get to the

10      question of whether he lied about his purpose in speaking to

11      the reporters without getting to the question of whether he

12      believed that the law required him to register.          And the

13      instructions that both parties have submitted seem to me to be

14      largely in sync with each other, that you will instruct the

15      jury that it must find beyond a reasonable doubt that he

16      knowingly and willfully violated a duty --

17                  THE COURT:    Let me try a simpler explanation.

18                  MR. TAYLOR:    -- violated a duty.

19                  THE COURT:    Let's say the light was yellow, person

20      drove through it.     And he's asked about it later and he says it

21      was green, but he legitimately believes if it was yellow, he

22      was allowed to go through it, that that wasn't a violation of

23      law, because it wasn't red, it was just yellow.          If the issue

24      is, did you tell the truth when you said it was green and

25      omitted the fact that it was yellow, why does it matter if he
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 1      reasonably believed he didn't have to stop if it was yellow?

 2                  MR. TAYLOR:    That's -- I apologize at what you may

 3      consider to be a little stubbornness.         The -- this case

 4      involves FARA.     FARA -- he's not charged with willfully failing

 5      to register under FARA.      But I don't think I'm exaggerating

 6      when I tell you that the government intends to prove that he

 7      was required, legally, to register under FARA, he knew it and,

 8      therefore -- and therefore that's why he misled the FARA unit

 9      and that's why he left out what's in paragraph 63.

10                  So, I don't see -- I really don't see how we can get

11      to the mens rea question in this case without addressing the

12      question whether he believed that the law required him to

13      register.    And he will -- he will have to be permitted to

14      testify that he did not believe the law required him to

15      register, and for good reason.

16                  Now, so the duty which you have found to exist in

17      Section 612, as I understand it, arises from the fact that he

18      had a duty to register.      So, whether --

19                  THE COURT:    I'm saying that the duty to answer the

20      questions that were posed and not admit the fact arises out of

21      the existence of the set of duties set forth in FARA, and that

22      they're sufficiently specific to not give rise to the Safavian

23      problem that you said existed in this case.          That is a

24      different question than the ultimate legal question about

25      whether he had to register or not.        It is a question about
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 1      whether he had a duty to answer the questions he was being

 2      asked truthfully because they illuminated the applicability of

 3      a clear statutory duty to him.        Which is different than saying

 4      what you're trying to get me to say, which I specifically

 5      rejected, because you have to decide whether he had a duty to

 6      register, and if he didn't, then he didn't have a duty to

 7      speak.   And I said that you were saying that that just begs

 8      that question, that's just a circle; he didn't have a duty to

 9      disclose, so he didn't have a duty to disclose.          That doesn't

10      work.

11                  What I said, what I found was that there was a

12      sufficiently clear statutory structure of what gets disclosed

13      and what doesn't, that he knew what needed to be discussed and

14      what didn't.     And that is different than whether, at the end of

15      the day, meeting with David Sanger triggered an obligation or

16      not.    That is what the FARA unit was trying to figure out.

17                  MR. TAYLOR:    That's right.

18                  THE COURT:    And it ultimately, before it even knew

19      all the facts, said we think just the fact that you gave him a

20      quote at some point on the 12th or 13th is enough.           He came in

21      and said, No, it was just responsive, it was this and that.

22      And then he said, Well, based on the fact of what you just told

23      us, he didn't have an obligation.        We're not going to rule and

24      the jury is not going to rule on legitimacy of any of those

25      conclusions.     The jury is going to figure out when he said the
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 1      facts about what he did, was that true.

 2                  MR. TAYLOR:    Yes, Your Honor.     There is, however, the

 3      matter of paragraph 63.      And that includes failing to disclose

 4      certain things, some of which are not true, but others of which

 5      relate to events which happened in 2012.         And Mr. Craig's view

 6      that the law, that those things which occurred or didn't occur,

 7      did not require him to register, go directly to his intention

 8      in whether or not to disclose them.

 9                  THE COURT:    I haven't said, at this point, if he

10      talks about that interview he can't talk about whether he

11      thought he had to say those things or not.

12                  MR. TAYLOR:    And we will be on those interviews like

13      a laser.    That's what we think the case is about.

14                  THE COURT:    I'm looking forward to laser focus here.

15      Let's go back to the laser focus question I asked, which is

16      what is your objection to the admissibility of Exhibits 14

17      through 19?    Because we can't get to your case until the

18      government puts on his case, and he can't put on his --

19                  MR. TAYLOR:    That's for sure.     And we may never get

20      to our case.     I don't know the answer to the question.        I

21      thought you were asking about duty.

22                  THE COURT:    I was just asking -- and maybe it was an

23      unnecessary detour and my fault, and I'll take credit for the

24      fact that we've spent 20 minutes talking about duty or

25      responsibility -- probably not credit -- but point was that
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 1      it's still a question of law, I believe even in your view.

 2                   MR. TAYLOR:   It certainly is a question of law.       And

 3      the question to be put to the jury, I think, is illuminated in

 4      the instructions that both we and the government have

 5      submitted.

 6                   THE COURT:    Right.   But the duty that is the question

 7      of law is the duty to disclose.

 8                   MR. TAYLOR:   Yes.

 9                   THE COURT:    The duty to register is a different duty.

10                   MR. TAYLOR:   That's right.     The duty to disclose, the

11      jury must find beyond a reasonable doubt that --

12                   THE COURT:    That he violated the duty to disclose

13      that I'm going to tell them whether he had or not.           Which I've

14      already gone through that.

15                   MR. TAYLOR:   Well, we'll have that discussion at the

16      time.   What you tell them about what that duty was in fact --

17                   THE COURT:    It's going to be a long discussion, I'll

18      bet.

19                   MR. TAYLOR:   It's probably going to be a discussion,

20      but I don't think we want to have it right now.

21                   THE COURT:    Okay.

22                   MR. TAYLOR:   Or at least I don't think you do.

23                   THE COURT:    I don't.

24                   MR. TAYLOR:   I didn't think so.

25                   THE COURT:    All right.   So what is the purpose of the
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 1      admission of these exhibits?

 2                  MR. CAMPOAMOR-SANCHEZ:      Yes, Your Honor.     They're

 3      relevant for a number of reasons, but it -- it's relevant to

 4      the question of why Ms. Hunt was asking the questions she was

 5      asking, because these were the forms that were in effect at the

 6      time if somebody were to register.        And it's also relevant that

 7      it shows the type of information that a registrant would be

 8      required to provide were they forced to register or decided

 9      they had to register.

10                  THE COURT:    All right.    I think they're relevant.

11      And I'm going to admit Exhibits 14 through 19.

12                  Exhibit 26.    There is, I believe, a hearsay.

13                  MR. MURPHY:    Your Honor, that one is mine, in terms

14      of the objection.     And it's a hearsay objection.

15                  THE COURT:    That's not coming up.

16                  MR. CAMPOAMOR-SANCHEZ:      Your Honor, I can put it on

17      the Elmo, if it helps the Court.

18                  THE COURT:    I have it set up here now.

19                  So, I don't even know who --

20                  MR. MURPHY:    So Mr. Riley is a senior person at FTI.

21      And this actually relates to an effort, I think, by

22      Mr. Manafort to hire Mr. Riley and FTI at an earlier time,

23      before Skadden got retained to do the report.          And it's some

24      observations that he's making to his colleagues about

25      Mr. Manafort and Mr. Manafort's history and career.              It's
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 1      hearsay.    And frankly, I don't think it's particularly relevant

 2      to anything in our case, as it predates Skadden --

 3                  THE COURT:    That was my question.      You objected on

 4      hearsay grounds and I wanted to know, who are these people and

 5      what is the relevance of this?

 6                  MR. MURPHY:    So we don't think it's relevant.

 7                  THE COURT:    That's why I'm asking him what it is.

 8      And you can also -- if we've got a lot of these, you can do

 9      these from the table, if you prefer.

10                  MR. MURPHY:    I'm happier up here.

11                  THE COURT:    All right.

12                  MR. CAMPOAMOR-SANCHEZ:      Mr. Riley is a potential

13      witness in the case who might be available to testify.           And

14      this will come into play because he indeed passed on working on

15      Ukraine's behalf in February, at the same time that Mr.

16      Manafort was also reaching out to Mr. Craig, but ultimately

17      allow Mr. Hawker, who is going to be one of our main witnesses,

18      to testify.

19                  Mr. Riley, I believe, if called to testify will say

20      and explain that the only reason he, in fact, allowed this

21      project to go forward, even though he had concerns about FTI

22      being involved with Ukraine, was because Mr. Craig was part of

23      this representation.      And this just illustrates and

24      corroborates the testimony that before he was not willing to do

25      it; only because Mr. Craig was involved was he willing to allow
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 1      the project to go forward.

 2                   THE COURT:    All right.   The -- so if he's going to be

 3      here, to the extent the email contains his statements -- I

 4      mean, there's just a lot in here that I'm not sure bears on

 5      this, a lot of his musing, statements about what's going on in

 6      the world.    Why can't he just testify that they came to me

 7      first?

 8                   MR. CAMPOAMOR-SANCHEZ:     He can.    He can.   We'll do it

 9      that way.

10                   THE COURT:    So we're not going to use Exhibit 26.

11                   Okay.   29 was completeness.     We don't need to talk

12      about that.

13                   All right.    63.

14                   MR. ABELSON:    Your Honor, this was a question raised

15      in April 2012 by Mr. Craig.       Essentially a hypothetical, about

16      whether if -- the email at the top says if we give PR case to

17      Ukraine, can a Skadden lawyer from the London office give the

18      advice of supporting the obligation to register.           And we think

19      this would be very confusing for the jury because this wasn't

20      the basis for a decision that he didn't need to register.          This

21      was a side hypothetical question about if we were to do X, Y,

22      or Z.    So that's our, essentially, 403 objection.

23                   MR. CAMPOAMOR-SANCHEZ:     So, Your Honor, if I may.

24      This goes directly to his state of mind in terms of what he

25      told the FARA unit.       He essentially claimed in those letters
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 1      that he had no idea what Ukraine was going to do.           These are

 2      his own words.     He knows that the client, that being Ukraine,

 3      wants PR advice.     And because he doesn't want to register, he's

 4      asking Mr. Sloan, Hey, can we get Mr. van der Zwaan in London

 5      to register so we don't have to register.         And Mr. Sloan will

 6      be available to testify that that's what Mr. Craig asked him.

 7                  THE COURT:    I think it goes directly to the notion

 8      that he had FARA on his mind and he understood the connection

 9      between PR activities and FARA.        And so I think it's admissible.

10                  But I will note that the next document, 64, I think,

11      is the same email chain, without an objection, but it has the

12      subsequent -- it has the response to it; is that correct?

13                  MR. ABELSON:    I would have to look at it, but that --

14                  THE COURT:    I think I might have looked at it and

15      discovered that.     And if that's the case --

16                  MR. CAMPOAMOR-SANCHEZ:      Your Honor, you're correct.

17      It's Mr. Sloan responding.       And again, he will also testify

18      about that.

19                  THE COURT:    Right.   But what I'm saying is I don't

20      know that we need 63 if we've got 64, because Mr. Sloan

21      responds, Do you want me to ask Ken Gross?          And Mr. Craig says,

22      I don't care who you ask, we need an answer from someone we can

23      rely on with a straight face.       Does FARA cover me?      Do I have

24      to register?     You know, so --

25                  MR. CAMPOAMOR-SANCHEZ:      Right.
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 1                  THE COURT:    All I'm saying is I think they are

 2      duplicative, so you may -- I'm overruling the objection to 63.

 3      So I don't know how you're planning to do this, if you're going

 4      to put in the first questions through one and then the answer

 5      through somebody else.      But -- all right.     And I also -- there

 6      is no objection to 64, so I don't know if you were just --

 7                  MR. ABELSON:    Yeah, that's fine.

 8                  THE COURT:    So there's a little inconsistency there.

 9      But they're in evidence.

10                  The next one that's not a completeness objection --

11                  MR. ABELSON:    I think it's 109, Your Honor.

12                  THE COURT:    Yes.   Don't start talking until I have

13      it.

14                  MR. ABELSON:    Sure.   And --

15                  THE COURT:    And I might not have --

16                  MR. ABELSON:    I'm happy to give Your Honor a chance

17      to look at it.     But what this is --

18                  THE COURT:    But you're still talking.

19                  MR. ABELSON:    I apologize.     I thought you wanted me

20      to start.

21                  THE COURT:    All right.    Thank you.    I would like to

22      know what the relevance of this is, from the government's

23      perspective first.

24                  MR. CAMPOAMOR-SANCHEZ:      Yes, Your Honor.     So this

25      again goes to the idea that Mr. Craig was very much aware that
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 1      there was a PR need and that he wanted -- as the Court may

 2      recall, there is a Project Two that is also ongoing, that he's

 3      working on with Mr. Cowie and Mr. Loucks and others, and this

 4      all relates to how FTI was -- the reason that FTI was hired,

 5      the fact that Mr. Craig was willing to work on PR matters for

 6      the government of Ukraine, and certainly for the fact that he

 7      disclosed none of this to the FARA unit.         He actually wanted

 8      his teams to figure out a way and give advice to the government

 9      in Ukraine, as to how their own internal investigation about

10      what happened to Tymoshenko could be presented in a way that

11      was credible and authoritative.

12                  THE COURT:    All right.    And what's the objection?

13                  MR. ABELSON:    So, Your Honor, this document doesn't

14      have anything to do with PR or Project Two.          This was a

15      separate question.      So, Miss Tymoshenko was incarcerated at the

16      time and raised questions about her prison conditions.            This is

17      a memo about her prison conditions.        It really has nothing to

18      do with either Skadden's work or PR.

19                  THE COURT:    Well, there's the issue about the prison

20      condition, but there's an attachment.         Now without the

21      attachment -- the attachment is called Presentation of

22      Findings.    And then at the end he says what steps might we

23      recommend to ensure that the findings will be viewed as

24      credible and authoritative.       Are we talking about the findings

25      in the report that the people who are identified, Loucks,
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 1      Cowie, van der Zwaan, Craig, are working on?          Or is there some

 2      other set of findings that are going to be presented that need

 3      to be credible and authoritative?

 4                  MR. CAMPOAMOR-SANCHEZ:      No.   It's different, Your

 5      Honor.    So what's going on is the government of Ukraine has

 6      sent another group of people to actually investigate the

 7      allegations.

 8                  THE COURT:    On the beating.

 9                  MR. CAMPOAMOR-SANCHEZ:      On the beating of Miss

10      Tymoshenko.    And Mr. Manafort, if the Court looks at the very

11      top of the attachment, writes this memo, sends it to Greg

12      Craig.    And the top of the thing says, The treatment of Tymo as

13      a prisoner is the latest chapter in an overall team of PR gain.

14      And then there is -- this is the first email.          There's

15      subsequent emails between the team members.

16                  So the very response by Mr. Cowie to this email by

17      Mr. Craig is how they're going to engage with PR and how they

18      need to get FTI on board so FTI can help with making sure the

19      findings will be viewed as credible and authoritative.           They

20      are involved in PR, despite what Mr. -- the defense just argued

21      to you.

22                  THE COURT:    The findings of what?      The findings in

23      the report about what happened to her in jail, or the findings

24      in the report that they're writing?

25                  MR. CAMPOAMOR-SANCHEZ:      No, the findings about Miss
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 1      Tymoshenko's beating, alleged beating in the jail.           But the

 2      point that we're trying to make, Your Honor, with these and

 3      other documents is that Mr. Craig knew about the need for PR,

 4      was involved with PR, asked his people to help with PR, and

 5      this is the memo that leads -- I mean, just after this one, if

 6      the Court looks at the next few sets of exhibits, leads into a

 7      discussion about the hiring of FTI, precisely to provide PR for

 8      the government of Ukraine.

 9                  For example, that's Government's Exhibit 110, is the

10      response from Mr. Cowie.       And it reads:    I see.   If we are able

11      to sort out PR overnight, we can begin to brief them tomorrow

12      and make arrangements in the working day for their attendance

13      on the ground and begin to think through work products which

14      they can begin working on.       Is there anything else we can do on

15      this end?

16                  And then Mr. van der Zwaan responds to that.         And

17      he's asking, we need FTI's pitch because they need the PR

18      machine to help present these beatings in the best possible

19      light to the PR public.      And Mr. Craig is helping and assisting

20      with that and he knows about it and he's telling his team to

21      help him with it.

22                  MR. ABELSON:    Your Honor, I just want to point out

23      the discussion was about PR, as the government noted, in

24      Ukraine.    So if the relevance that they're talking about is

25      public relations in the United States, the only relevance would
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 1      be public relations that implicates FARA.         I don't see any

 2      nexus there either.

 3                  MR. CAMPOAMOR-SANCHEZ:      He's asked by the FARA unit

 4      what he did for Ukraine and omitted all of this.           In fact, he

 5      claimed he knew nothing about the PR part of it.           He's knee-

 6      deep in it.

 7                  MR. ABELSON:    But what does it mean, is what I would

 8      like to point out.      This is a side report that he received, did

 9      not write, about prison conditions.        There are going to be lots

10      of references to report, among other things.          Or, in addition,

11      this would be very confusing to have yet another report they're

12      claiming relates to this PR.

13                  MR. CAMPOAMOR-SANCHEZ:      We're going to have

14      witnesses, like, for example, Mr. Loucks, who is going to be

15      able to explain exactly what this means.

16                  THE COURT:    I'm concerned that these give rise to

17      confusion about which report we're talking about.           It was

18      certainly confusing to me.       I don't think, when we're talking

19      about -- when you see the attached memo and it talks about how

20      it's all going to be viewed in the West, that you can quite say

21      it only relates to PR in Ukraine.

22                  MR. CAMPOAMOR-SANCHEZ:      Your Honor, I think --

23                  THE COURT:    When FTI gets retained, what does it get

24      retained to do?

25                  MR. CAMPOAMOR-SANCHEZ:      So, it expanded.     So it got
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 1      retained initially to provide advice as it related to the

 2      Skadden report, but then that mission expanded.          They started

 3      also providing training to prosecutors and prosecutor general's

 4      office in how to handle media and all sorts of other issues.

 5      As the Court saw from Government's Exhibit 110, Matthew Cowie

 6      and Mr. Loucks were working on Project Two and also assisting

 7      the prosecutors with making sure that the upcoming trail of

 8      Tymoshenko would be viewed better in the press.

 9                  THE COURT:    But wait.    I thought you told me that

10      this is what prompted the hiring of FTI.         Now you're saying

11      they're already in and this just happened once they were

12      already in for the Skadden report; they're using them for other

13      things.

14                  MR. CAMPOAMOR-SANCHEZ:      No.   To be clear then, the

15      idea of using FTI started in late April.         What I was trying to

16      explain to the Court -- obviously I did not do a good job --

17      was that this leads to a renewed urgency to get FTI on board.

18      So they already had contacted FTI by April 26 of 2012.           This is

19      now May 3rd.     Mr. Craig is asking his team for help about this

20      issue, and then the response is, yet we have to get the PR

21      people involved.     And that's where the urgency to get them

22      hired happens.

23                  Now as to their mission, they had -- they originally

24      were supposed to be hired primarily to help with the Skadden

25      Report.    But I was explaining that their role expanded.        They
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 1      also helped, for example, with Project Two.          They helped with

 2      training prosecutors on media stuff.         So they -- FTI did a lot

 3      of other things, not just the Skadden Report.

 4                  MR. ABELSON:    And, Your Honor, just to focus on this

 5      exhibit, and this is -- this is a report about prison

 6      conditions.    And the FTI may have done a lot of things, but the

 7      question here is what Skadden did.        And if the relevance -- if

 8      the government's proffer as to this is Skadden's participation

 9      in a PR campaign, it's just not there.

10                  MR. TAYLOR:    Your Honor, may I --

11                  THE COURT:    Yes.

12                  MR. TAYLOR:    -- add something.

13                  THE COURT:    Yes.

14                  MR. TAYLOR:    I know this protocol is -- I'm breaching

15      it.

16                  FTI is hired, first, to do litigation PR.            That's

17      what you're going to find out.        It then moves into its role in

18      the report.    Now we could have a fight about that, but

19      Mr. Campoamor knows that the initial engagements and the

20      initial concerns about FTI relate to the upcoming trial and the

21      criticism that Ukraine is taking about her conditions.             We'll

22      see what the evidence shows.       I'm just telling you that the

23      engagement of FTI at the beginning, there's a contract in which

24      they say we're going to do PR for litigation.          Okay?

25                  So, you know, I don't know that you can rule on this
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 1      until you have a good sense of what the relevance is.            But it's

 2      not true that FTI is hired initially to do PR for the report.

 3      That's just not true, Your Honor.

 4                  MR. CAMPOAMOR-SANCHEZ:      Your Honor, may the Court

 5      please look at Government's Exhibit 113, just a few days after

 6      this, where Mr. Craig lays out the talking points about why FTI

 7      should be hired, which they're also objecting to.

 8                  MR. ABELSON:    On completeness grounds.

 9                  MR. CAMPOAMOR-SANCHEZ:      Yes.   But this relates

10      exactly to what Mr. Craig is arguing, the talking points as to

11      why FTI needs to be hired.

12                  THE COURT:    All right.    I am not going to rule on all

13      these factual issues.      Clearly there are documents that show

14      some relationship with Mr. Craig and the hiring of FTI.           This

15      document that you've got up right now, 113, there's no

16      objection to its relevance, it's only to completeness.           Part of

17      the confusion arises out of the fact that Skadden was involved

18      in multiple battles for the Ukraine at the same time, and

19      that's not the government's fault here and there may not be

20      anything wrong with it.      But that is what the facts are.

21                  And it's virtually impossible to talk about one

22      without the other because they inform.         There's a lot of emails

23      that talk about more than one; can we go interview her while

24      we're doing Project Two, at the same time as we're doing

25      Project One.     So it runs throughout both side's exhibits in the
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 1      case.

 2                   I think, based on what I'm hearing, that 109 and 110

 3      are admissible.     But if you show them to anyone and if you ask

 4      anyone about them, you have to make it abundantly clear that

 5      you're not talking about the Skadden Report here.

 6                   MR. CAMPOAMOR-SANCHEZ:     Yes.   Understood.

 7                   THE COURT:    With that proviso, and if I even have to

 8      turn and instruct the jury that this report that they're

 9      talking about is not The Report, then I will, if it's not

10      clear.

11                   All right.    I think 125 had a -- 115 had a

12      completeness issue, but also a relevance issue.

13                   MR. ABELSON:   Right, 115.

14                   MR. MURPHY:    115 is mine.    Do you want to hear from

15      me?

16                   THE COURT:    I don't know yet.    I'm pulling it up.

17                   MR. MURPHY:    Okay.

18                   THE COURT:    What is -- what's the relevance

19      objection?

20                   MR. MURPHY:    It's really a similar objection to the

21      one we just dealt with, Your Honor.        It really is about FTI's

22      thoughts about the proper way to address Miss Tymoshenko's

23      complaints about her prison conditions and whether she's fit to

24      be put on trial a second time.

25                   THE COURT:    Well, I think their point is, it's
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 1      Mr. Van der Zwaan asking Mr. Hawker for his comments.            And, so,

 2      it relates to the firm's insertion of itself in the

 3      conversation, or its participation in the conversation.           Am I

 4      correct?

 5                   MR. MURPHY:    It's not -- I guess.     It's not copied to

 6      Mr. Craig.

 7                   THE COURT:    Well, Mr. Craig, when he was originally

 8      contacted by the FARA unit, it wasn't just about whether he

 9      personally had to register.        The letter went to the firm.     He

10      answered on behalf of the firm.        So, I don't think he was just

11      communicating about himself personally.

12                   So, again, I think we have to be very careful about

13      what these are and what they aren't.         But to the extent -- and

14      if it's just internal within FTI, talking about PR, about some

15      other report -- there had been PR about the Skadden Report --

16      that's a different situation.       But having Skadden on the chain,

17      I think it's relevant to what they're trying to prove and it's

18      admissible.

19                   125, there's a hearsay objection.

20                   MR. ABELSON:   And relevance, Your Honor.

21                   THE COURT:    Okay.   All right.   So this is internal,

22      within the consulting firm's -- I mean, with the PR firm's

23      talking about the reaction to an article.         But it also -- one

24      FTI person is commenting to another about Skadden's reaction.

25      And doesn't say I talk to so-and-so at Skadden and he said, but
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 1      it clearly purports to transmit information transmitted to him

 2      from Skadden.

 3                  So, I take it that's the hearsay objection?

 4                  MR. ABELSON:    That is the hearsay objection in part.

 5      It's also to the --

 6                  THE COURT:    Why is that not -- the objection not well

 7      taken?

 8                  MR. CAMPOAMOR-SANCHEZ:      Your Honor, Mr. Hawker would

 9      be available to testify.       And as the Court will see, what he's

10      relating here and the subsequent emails will show, is that he

11      was specifically asked by Skadden to help with a press release,

12      not only for the government of the Ukraine, but for Skadden

13      itself.    And the Court will see in the subsequent documents how

14      Mr. Hawker then, as a result, he's reporting on what he was

15      asked and then Mr. Hawker sends an email with a draft press

16      release that includes a draft press release for Ukraine and it

17      includes a draft press release for Skadden.

18                  We are happy to also redact this.        And if the Court

19      is still not satisfied, I can ask Mr. Hawker directly.           But it

20      is corroborating that he says, look, Skadden came to me, they

21      had this PR problem now, and I'm helping them with this PR

22      problem; them and Ukraine.       That's what this -- and this is, by

23      the way, about the Skadden Report.

24                  THE COURT:    So this -- you can show the article to

25      him and ask him, As a result of your article, did Skadden reach
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 1      out to him, and what did he have to do?

 2                  MR. CAMPOAMOR-SANCHEZ:      Yeah.   To be clear, the

 3      article is not what prompted it.        He just happened to be

 4      responding to that thread and informing Mr. Aarons that Skadden

 5      now was coming to him for PR help as it related to the report,

 6      for itself and Ukraine.

 7                  THE COURT:    All right.    So the article is irrelevant?

 8                  MR. CAMPOAMOR-SANCHEZ:      Yeah.

 9                  THE COURT:    So the article comes out.

10                  MR. CAMPOAMOR-SANCHEZ:      We can redact the article.

11                  THE COURT:    And the email, if he's going to be here

12      to be cross-examined about what was said to him --

13                  MR. CAMPOAMOR-SANCHEZ:      Correct.

14                  THE COURT:    But who is -- who is he going to say said

15      it?

16                  MR. CAMPOAMOR-SANCHEZ:      It was Mr. van der Zwaan who

17      came to him, asking for the assistance.         And then he sends the

18      email back to Mr. van der Zwaan.        And as the Court will see,

19      then everybody gets involved; Mr. Craig gets a copy of

20      Mr. Hawker's email with the draft press releases, he makes

21      suggested changes to it, and then it goes to other people at

22      Skadden and elsewhere.

23                  THE COURT:    Well, I think he can say that he had a

24      conversation with Mr. van der Zwaan and as a result of that

25      conversation, you know, he was asked to develop a plan.          I
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 1      don't think that's -- that's a direction, that's not a fact --

 2      a matter being asserted as true.        But, I think other things

 3      that Mr. van der Zwaan said to him, you're going to run into

 4      hearsay problems.

 5                    So, I think the better way to do this is to do this

 6      through testimony and not through the use of this exhibit.

 7                    MR. CAMPOAMOR-SANCHEZ:    Very well.

 8                    THE COURT:   So it will be excluded.     What number was

 9      it?    125?

10                    MR. CAMPOAMOR-SANCHEZ:    That was 125.

11                    MR. ABELSON:   125.

12                    THE COURT:   Okay.    All right.   I think we're up to

13      162.

14                    MR. ABELSON:   Your Honor, I can provide a little

15      context for our objection, if that would be helpful.

16                    THE COURT:   Just give me a second.

17                    MR. ABELSON:   Sure.

18                    THE COURT:   All right.   There were -- I mean, there's

19      other things that are a problem with this, such as the kind of

20      flippant way it refers to the defendant.         But --

21                    MR. CAMPOAMOR-SANCHEZ:    Which I think he would say it

22      was in a joking manner.

23                    THE COURT:   Yes.    But --

24                    MR. CAMPOAMOR-SANCHEZ:    Right.

25                    THE COURT:   But you just don't know how that is going
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 1      to hit -- this Greg Craig character is going to hit a jury.

 2                  But putting that aside, can we just talk generally

 3      about what you're planning to do about Project Two, how far

 4      down the road we're going with Project Two.

 5                  MR. CAMPOAMOR-SANCHEZ:      Not very far, Your Honor.        I

 6      think that from some of the early witnesses, they're going

 7      to -- either Mr. Loucks -- or, Mr. Loucks and perhaps later

 8      Mr. Cowie, but they're going to hear that the project started

 9      being primarily about the Skadden Report, and that then the

10      project expanded, and then that several members of the team

11      were then sort of moved from the Skadden Report to working

12      primarily on Project Two.

13                  And what ends up happening here, by June, is that a

14      concern is raised about the appearance that Project Two could

15      have, particularly if the Tymoshenko camp learns that Skadden

16      is advising another set of prosecutors in how to prosecute her

17      better in an upcoming trial.

18                  And so --

19                  THE COURT:    You mean, what could happen to Project

20      One.

21                  MR. CAMPOAMOR-SANCHEZ:      Correct.    Correct.     What

22      impact would that have on Project One.         And so, it's going to

23      be very brief, actually, the testimony.         But it's going to be

24      that -- what kind of work was it doing?         What did it entail?

25      When did it start?      And ultimately, how long it lasted and when
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 1      it ended.    And there's two sort of pivotal points.         One is this

 2      time, which is the Tymoshenko interview.         So now they're now

 3      getting ready for the Tymoshenko interview, and then Mr. Loucks

 4      and Mr. Cowie are excluded from that interview because

 5      Mr. Craig doesn't want to explain what else they're working on.

 6                  Despite that though, they do continue working on

 7      Project Two after they interview Tymoshenko, without Mr. Loucks

 8      or Mr. Cowie present.      They work on it in July, and then August

 9      is the next pivot point, where they're close to getting Project

10      One released, the report.       And again Mr. Craig raises a concern

11      about I don't want this out there until the report is at least

12      digested.    But then essentially Project Two dies, in August of

13      2012.   So not a lot.     But we do want to talk about --

14                  THE COURT:    How does it bear on the charges in the

15      indictment?

16                  MR. CAMPOAMOR-SANCHEZ:      Oh, because, again, he's

17      asked to describe what -- what his firm and he were involved

18      with.   And Mr. Craig was supervising Project Two, which

19      included, as part of his component, of course, better PR for

20      the government of Ukraine.       He says nothing about Project Two

21      at all to the FARA unit, even though Skadden worked on it for

22      months.    And even though he knew -- and perhaps because he knew

23      it could have a negative impact on the Skadden Report, he

24      ultimately excluded those lawyers from continuing to work on

25      Project One.
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 1                  For example, Mr. Loucks was one of the primary

 2      interviewers on Skadden Project One, on the Tymoshenko report

 3      until he started working on Project Two, and then Mr. Craig

 4      asked him to step aside.

 5                  So all of this is stuff that he should have told the

 6      FARA unit about the work he did, but failed to tell them.

 7                  THE COURT:    But, if he gets simultaneously engaged to

 8      do this other matter, and you think it bears on his motive or

 9      intentions or his omissions, why do we need every email and

10      every detail about Project Two and her state of when they

11      interviewed her and who was going to go and who wasn't going to

12      go and the appearances?      I mean, it starts to look like you're

13      really trying to get at whether they had a conflict.             You know,

14      all sorts of other issues that --

15                  MR. CAMPOAMOR-SANCHEZ:      Yeah, just so the Court

16      knows.   We're not.     And in fact, Mr. Loucks I think would very

17      credibly -- has very credibly explained to us that he did not

18      see it as a conflict, that in fact what he understood to be a

19      Chinese wall, that he did not see any problem with it, and that

20      this happened, sort of, all the time.

21                  So, but to answer the Court's question, we actually

22      do not have that many emails that we intend to introduce about

23      Project Two, but we do think it's important for --

24                  THE COURT:    Well, there are emails that address the

25      very question about whether a Chinese wall was or was not
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 1      adequate, they were internally considering all that.             So it

 2      seems to me that that seems to suggest that you want to give

 3      rise to some concern in the juror's mind that it wasn't.

 4                  MR. CAMPOAMOR-SANCHEZ:      No, we're not.     And if the

 5      Court wants us to redact that part out, we can.          What I do

 6      think is important, from a state of mind perspective, right, so

 7      when they're evaluating whether Mr. Craig either forgot or

 8      didn't really have reason to mention this, the jury needs to

 9      have an understanding of how important this was at the time.

10      And this was an issue Mr. Craig thought about and was careful

11      enough about to say, You know what?        We cannot have this affect

12      Project One, and yet Project Two is never mentioned to the FARA

13      unit.

14                  So he has the presence of mind to know how important

15      this issue is to the Skadden Report, and yet doesn't mention

16      it.    So if the Court is concerned that parts of these emails

17      could be misunderstood, we're happy to redact them, as the

18      court directs.     But I -- but we believe it is very important

19      for the jury to understand that Mr. Craig knew and understood

20      this to be important.

21                  THE COURT:    All right.    What does the defense have to

22      say?

23                  MR. MURPHY:    Your Honor, with respect to Project Two

24      in general, first of all, it's our position that Mr. Craig

25      informed the FARA unit, in response to the very first
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 1      question -- set of questions that he received, that the firm

 2      was retained to engage in a number of rule-of-law issues for

 3      the Ukraine Ministry of Justice, and that those issues included

 4      a particular focus on the Skadden Report that was done on the

 5      first trial of Yulia Tymoshenko.        But I don't think he did

 6      anything to hide the fact that the firm was engaged more

 7      generally on other rule-of-law issues, which included the

 8      so-called Project Two involving the trial.

 9                  Secondly, those were rule-of-law issues.         I think

10      that witness will testify that they viewed the role of Skadden

11      not as prosecutors who were assisting in the prosecution of

12      Miss Tymoshenko, but as lawyers from the western perspective,

13      due process concerns, who were going to make sure that any

14      mistakes that had been made in the first trial would not be

15      repeated in the second trial, if the Ukraine decided to go

16      ahead and have a second trial.

17                  They were going to ensure that the second trial was

18      conducted in a way that would not give rise to the same sort of

19      criticisms that had accompanied the first trial.           They were

20      rule-of-law consultants with respect to that second trial.

21                  Thirdly, the second trial never happened.            And we

22      believe that, in part, it never happened because the Skadden

23      folks, the two prosecutors, former prosecutors who were

24      involved, one Mr. Loucks, who was in Massachusetts and had been

25      in the U.S. Attorney's Office in Boston, and Mr. Cowie, who was
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 1      with the British, what they call the serious fraud office.

 2      They had advised the Ukraine prosecutors about the weakness of

 3      the case and eventually the case was dropped.

 4                  So, we think, number one, it's really a sideshow,

 5      this whole episode about Project Two.         And the premise, the

 6      essential premise that the government asserts, is that it was

 7      not described to the FARA unit.        Our position is yes, it was.

 8      He described a broad -- you know, a broader range than just the

 9      Tymoshenko report project, and he was never asked any further

10      questions about it.

11                  The focus of Miss Hunt and her colleagues was the LA

12      Times article about the Skadden Report on the Tymoshenko trial,

13      the first trial.     He mentions what else -- they ask, What did

14      you do for the Ukraine?      He says, We provided rule-of-law

15      consultation, in general, to the Ukraine Ministry of Justice.

16      We had a particular focus on this report, which ended up being

17      talked about in the LA Times article.         But he was never asked

18      any other questions about what else did you do for the Ukraine

19      Ministry of Justice?      That question was never asked.

20                  MR. CAMPOAMOR-SANCHEZ:      Your Honor, so the Court has

21      a background, there is an email in black and white, in April of

22      2012, where Mr. van der Zwaan says, and it's communicated to

23      everybody on the team, We understand that from Ukraine's

24      perspective, there is an interest in improved PR for both

25      Project One and Project Two.       This was discussed amongst the
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 1      team and the team knew it.       And all we're doing is trying to

 2      establish all these things and prove that he did not tell that.

 3      And, you know, we disagree as to what the letters say, the

 4      import of it.     But, to prove what he knew and how carefully he

 5      knew about it and why, therefore, it's important that he

 6      omitted it and did not tell the FARA unit about it.

 7                  THE COURT:    I think some mention of Project Two is

 8      relevant.    If there's a dispute about whether what he said was

 9      truthful or whether it was somewhat misleading, is it one of

10      the omissions in paragraphs 63?

11                  MR. CAMPOAMOR-SANCHEZ:      One moment, Your Honor.   Just

12      want to double check.

13                  Your Honor, I think it is included as part of the

14      purpose of the scheme in paragraph 49.

15                  THE COURT:    Right.   I thought it was part of the

16      alleged motive to not register.

17                  MR. CAMPOAMOR-SANCHEZ:      I know we -- yeah, it's

18      listed as the purpose of the scheme in terms of non-disclosure

19      of the parallel engagement in the consulting project with

20      Ukraine.

21                  It is in paragraph 49, where it is explained that

22      part of the scheme was avoiding, essentially, mentioning of the

23      parallel engagement with Ukraine; what it is referred to in the

24      indictment as the consulting project.

25                  THE COURT:    All right.    So if you're saying that the
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 1      Chinese wall of business and improprieties and that sort of

 2      thing are not your goal here --

 3                   MR. CAMPOAMOR-SANCHEZ:     Yes.

 4                   THE COURT:   -- couldn't we just redact, Were I -- per

 5      defense counsel, I would feel sandbagged, I would scream to

 6      high heaven, and what it would look like and the perceptions,

 7      and what Greg and I discussed.        And just leave it to say, I

 8      concur that we should not be the interview of Tymoshenko, and

 9      Craig says, I had a talk and he agreed.         And leave out this

10      whole thing about how Skadden would be perceived, or is that

11      part -- is that part of your case or is it not part of your

12      case?

13                   MR. CAMPOAMOR-SANCHEZ:     No.    So, I think the

14      perception, the concern about the perception is part of the

15      case.   That's what Mr. Craig knew, that perception was

16      important.

17                   Your Honor, can we -- to save time, we can do a

18      redaction and submit it to the Court and defense and see if

19      that's -- in concrete, so that the Court can rule on that, and

20      maybe they'll agree.

21                   THE COURT:   Let me look at 163 and just see what it

22      is.

23                   I mean, this seems to be more about trying to keep

24      Project Two secret.

25                   MR. CAMPOAMOR-SANCHEZ:     Correct.
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 1                  THE COURT:    The fact that it was Skadden doing

 2      Project Two secret.

 3                  MR. CAMPOAMOR-SANCHEZ:      Correct.

 4                  THE COURT:    And are you saying that that's part of

 5      the not wanting to register, because it would have been in the

 6      registration statement?

 7                  MR. CAMPOAMOR-SANCHEZ:      I'm saying that it relates to

 8      the public relations work that Mr. Craig did and did not

 9      disclose.    And also, it relates to the fact that had this

10      project become known, which could potentially have -- if he had

11      disclosed it to the FARA unit and had to register and had to

12      disclose everything that he did, it would have impacted the

13      credibility and been a negative hit on Project One, the Skadden

14      Report.    And that's why he did not want to talk about it.

15                  MR. MURPHY:    Your Honor, may I be heard about this?

16                  THE COURT:    Yes.   Yes.

17                  MR. MURPHY:    Thank you.    I thought the other day you

18      said we were not going to be trying the report.          But much of

19      what I hear Mr. Campoamor saying is that this has to do with

20      the report and whether it was an independent report, because

21      there is this problem that he posits with respect to Project

22      Two.

23                  You have made it very clear that what this case is

24      really about is the truth or the falsity or the omissions that

25      Mr. Craig made or allegedly made with respect to some letters
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 1      that were exchanged with the FARA unit.         In the very first

 2      letter, and the response thereto, which I mentioned, which I

 3      think the response is Government Exhibit 2, he was asked to

 4      describe the activities the firm engaged in related to the

 5      Ministry of Justice.      And he said, in April of '12, the

 6      Ministry of Justice for the government of Ukraine asked the

 7      firm to serve as consultants on rule-of-law issues and to

 8      provide advice about the question of Ukraine's criminal justice

 9      system as viewed through the prism of Western standards of due

10      process and, in particular, to advise the Ministry about

11      rule-of-law issues that might arise before the European Court

12      of Human Rights.

13                  A major focus of this assignment was to conduct an

14      independent inquiry into the facts and circumstances

15      surrounding the prosecution and conviction of former Prime

16      Minister Tymoshenko.

17                  He provided that information, a broad description of

18      the rule-of-law assignments that they had in the very first

19      letter that he sent to the FARA unit.         I think it's totally

20      irrelevant to the case --

21                  THE COURT:    Well, we could quibble forever about

22      whether that sentence puts anyone reading it on notice that

23      while they were advising them on these issues, that that meant

24      that they were also going to be helping get the prosecutors

25      ready to retry her.
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 1                  MR. MURPHY:    But, Your Honor --

 2                  THE COURT:    And did that come up even in April?     I

 3      mean, when he says in April we were engaged, I thought that

 4      came up later, right?

 5                  MR. CAMPOAMOR-SANCHEZ:      No, the Project Two came up

 6      in April.

 7                  MR. MURPHY:    April.

 8                  MR. CAMPOAMOR-SANCHEZ:      It did.

 9                  MR. MURPHY:    It did, Your Honor.      Mr. Craig went over

10      there --

11                  THE COURT:    The question is, is that alleged to be an

12      omission that we're even worried about?

13                  MR. CAMPOAMOR-SANCHEZ:      Yes.   We just --

14                  THE COURT:    You read me the scheme allegation, that

15      part of the scheme was to keep the fact that they're doing

16      Project Two quiet, to bolster the credibility of the report.

17                  MR. CAMPOAMOR-SANCHEZ:      Right.

18                  THE COURT:    To hide the existence of the private

19      donor, that's why they wanted to not register, allegedly.

20                  MR. CAMPOAMOR-SANCHEZ:      Right.

21                  THE COURT:    But then when you say, and that scheme

22      was executed by making the following false statements and

23      omissions, is there any alleged false statement and omission

24      related to not being forthcoming about Project Two?

25                  MR. CAMPOAMOR-SANCHEZ:      I'm looking at it, Your
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 1      Honor.

 2                  THE COURT:    And if not, then I think these documents

 3      need to be -- and this testimony needs to be truncated

 4      substantially, just to indicate that there was this other side

 5      of the project, that they wanted to look independent for

 6      purposes of that project, and so being on record as

 7      representing the Ukraine, you know, hurt them on both sides of

 8      the equation in looking -- as looking independent.

 9                  MR. MURPHY:    May I just --

10                  THE COURT:    I mean, you have marked a lot of

11      exhibits, also, about the public reaction to the report and

12      whether it was perceived to be -- it's great because it showed

13      that they did comply with some standards of justice and it

14      wasn't a completely terrible prosecution, or whether it was

15      perceived as being a whitewash by the firm.          And I don't know

16      why you all --

17                  MR. MURPHY:    We marked those, Your Honor, because

18      what we're trying to show is that the other people who were

19      actually involved in the media campaign for the Ukraine -- not

20      Mr. Craig and his colleagues, the others -- attempted to

21      characterize the report as saying things that it did not say.

22      And that that -- that began in the summer and persisted until

23      the report was delivered and released finally in December.         And

24      because of that, that's what motivated Mr. Craig to tap the

25      very limited media contacts that he did have.          He did it for
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 1      the purpose of defending the integrity of the report and

 2      dispelling what he knew was coming and what he had seen to be

 3      coming.

 4                  THE COURT:    A lot of the documents are after that, so

 5      I don't see how they would have been in his mind.

 6                  MR. MURPHY:    Oh, no.    The documents that we're

 7      talking about all predate December the 11th, 2012 when he first

 8      reaches out to Mr. Sanger.       That's the documents that I'm

 9      talking about.

10                  And with respect to Project Two, Your Honor, just to

11      finish this up, Skadden didn't do any public relations work on

12      Project Two; they didn't do any.        FTI was hired, FTI took on

13      that assignment of doing some public relations work for Project

14      Two.   Skadden never did any of it.       They trained the

15      prosecutors on how to better handle media questions, if they

16      got them, that Mr. Hawker will testify about all that.

17                  And by the way, these are among the things that are

18      not in the FTI registration that they just filed a couple weeks

19      ago.   There is nothing about Project Two in that.          It's totally

20      irrelevant, Your Honor.

21                  MR. CAMPOAMOR-SANCHEZ:      Your Honor, we're happy to

22      submit a revised exhibit with redactions.

23                  THE COURT:    I think with respect to all the Project

24      Two exhibits, they need to be pared down and you need to think

25      about what you're putting Project Two on for.          I don't think
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 1      it's entirely irrelevant and not one single Project Two

 2      document should come in.       And indeed, there are many Project

 3      Two documents to which there are no objections.          I think the

 4      existence of it, the parallel nature of the representation, the

 5      fact that they were concerned about the mutual impact on each

 6      other and the mutual impact of PR on one or the other on the

 7      other is relevant.

 8                  But I think you need to figure out which documents

 9      and which facts relating to that tie to the allegations in the

10      complaint -- I mean, the indictment.         Because while you do talk

11      about that as part of the underlying motivation and purpose for

12      the scheme, you don't really talk about those omissions as

13      being what he's on trial for.       And I don't want to dwell on

14      them too much.     And I do want to be very careful to not be

15      seeing -- seeming to be putting him on trial for accepting

16      these simultaneous representations, if that's not your position

17      and it's not -- you're not bar counsel anyway, and it's not --

18      you don't want the jury to trouble its little head about it,

19      then I wouldn't stir it up.

20                  MR. CAMPOAMOR-SANCHEZ:      Right.   It's definitely not

21      our position that it was a problem with having more projects.

22      It's not.

23                  THE COURT:    Well, I can't tell at the moment which of

24      all these documents relate to Project Two.          But, certainly with

25      respect to these two --
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 1                   MR. CAMPOAMOR-SANCHEZ:     162 and 163.

 2                   THE COURT:   I think some of it goes into a little bit

 3      too much detail about internally within the firm, how they're

 4      trying to structure this.       And so I think you should try to

 5      pare them down and see whether the defense relevance objections

 6      can be overcome, and if not, I'll have to rule on it when we

 7      get there.

 8                   MR. CAMPOAMOR-SANCHEZ:     Very well.

 9                   THE COURT:   So I'm reserving on those.

10                   165.

11                   All right.   We're going to take a ten-minute break,

12      and then we'll be back.

13                   Thank you.   You don't have to get up.

14                   (Recess.)

15                   THE COURT:   We are not going to stay here all night,

16      but let's see if we can get some more done.

17                   I think I reserved on 162 and 163 in the hope that

18      things are going to get narrowed down.

19                   What is the relevance of 165?      And I really want, if

20      we can do this, kind of one- or two-sentence answers to these

21      questions.    It's not that they're not all important and your

22      objections aren't well-noted, but we have to be done with this

23      before the trial starts.

24                   MR. CAMPOAMOR-SANCHEZ:     Yes, Your Honor.     So the

25      relevancy of 165 is that it shows that Mr. Craig knew and
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 1      understood the importance of the payment issue and the tender

 2      law issue, that is, public perception out there that Ukraine

 3      was only paying $12,000, allegedly, for his work.

 4                  THE COURT:    All right.    So this gets into the whole

 5      procurement issue.      It's kind of an entrée into this, or not

 6      really?

 7                  MR. CAMPOAMOR-SANCHEZ:      Correct.    Well, that's how

 8      the defense characterizes it.       But, yes, this is -- they reach

 9      out to Mrs. Tymoshenko's lawyer, who is asking them how can it

10      be possible that they're only working for $12,000.

11                  THE COURT:    Who is the person reaching out?

12                  MR. CAMPOAMOR-SANCHEZ:      That is Tymoshenko's lawyer.

13      And then Mr. Craig is discussing that with Mr. Manafort.

14                  THE COURT:    Well, he just says, Can you call me and,

15      Are you free now?     We don't really know what happened at that

16      point.    Are there other documents where this gets discussed,

17      where there's a little bit more that shows something other than

18      just can we talk about this?

19                  MR. CAMPOAMOR-SANCHEZ:      Yes.   Yes.

20                  THE COURT:    All right.    So can we skip this one?

21                  I mean, this issue and the fact that they had to do

22      something about it gets dealt with.        But all this is, is saying

23      to someone who's not going to testify, Can you give me a call

24      about this?    And, Are you free now?

25                  MR. CAMPOAMOR-SANCHEZ:      Correct.    But he's forwarding
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 1      to Mr. Manafort that question from the -- from Mr. Tymoshenko's

 2      lawyer -- Ms. Tymoshenko's lawyer, I'm sorry, I should say.

 3                  THE COURT:    But I guess what I'm saying is you're

 4      reading into this -- all he says is, Can you give me a call

 5      about this?    The response is, Are you free now?

 6                  MR. CAMPOAMOR-SANCHEZ:      Right.

 7                  THE COURT:    It's not like we have to come together

 8      and come up with a strategy.       It's just kind of vague, it

 9      doesn't say much.     We're going to have a million other

10      documents that deal with this issue.

11                  MR. CAMPOAMOR-SANCHEZ:      So, I guess the most

12      important part for us is the fact that that is communicated to

13      Mr. Craig directly from Tymoshenko's lawyer, and that's

14      reflected down there.

15                  THE COURT:    And who's going to say that?

16                  MR. CAMPOAMOR-SANCHEZ:      So, for example, Mr. Haskell,

17      who's also copied here, can say that, that this was an issue

18      that Mr. Tymoshenko's lawyer raised to him and to Mr. Craig,

19      the importance of that issue.

20                  THE COURT:    All right.    So this is going to come in

21      through Mr. Haskell, that we received this and this is the

22      first time they became aware that the public was talking about

23      the fee?

24                  MR. CAMPOAMOR-SANCHEZ:      I think this is when the

25      Tymoshenko's lawyer first raised it directly.          I think there
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 1      was some mention of this earlier, in another press release that

 2      they worked on, earlier that month.

 3                  MR. ABELSON:    Your Honor, if I may.

 4                  THE COURT:    Yes.

 5                  MR. ABELSON:    Mr. Vlasenko, who represented

 6      Tymoshenko, made accusations in these emails and elsewhere that

 7      Skadden was violating Ukrainian procurement laws, it's these

 8      tender laws, the law on state purchases, you'll see in some

 9      other documents they're referenced here.         We are very concerned

10      that if those documents come in, the jury will think that

11      Skadden was violating Ukrainian law.         And the government is not

12      suggesting that there was any such violation.          And so --

13                  THE COURT:    Well, maybe this is the better document

14      because it raises the issue without all those extraneous

15      concerns.    But, the point is that it became an issue within the

16      team, that there was a public questioning of the amount, then

17      I'm not sure that this causes any particular harm.           And I do

18      think the ones about violating -- I think, way back when, I --

19      haven't we already talked about saying that -- no, it was in a

20      different trial.     Violating the Ukrainian procurement

21      regulation would not be admissible.        But I will be consistent

22      on that point.

23                  All right, so this one is admitted.

24                  Let's go on to -- there was one that had a

25      completeness issue but also a relevance issue.          I think that
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 1      one maybe does get into --

 2                  MR. ABELSON:    Absolutely.

 3                  THE COURT:    Okay.    So 168.

 4                  MR. CAMPOAMOR-SANCHEZ:      Your Honor, so this is the

 5      follow-up on how Skadden doing its due diligence about, sort

 6      of, the allegations.      So, frankly, this is, I must admit, not

 7      the most helpful document.        So we can withdraw this one.

 8                  THE COURT:    All right.    Withdrawn.

 9                  172 I think gets back into who gets to be at the

10      interview and the overlap between Project Two and Project One.

11                  MR. ABELSON:    This is another project, among the many

12      of Project Two documents in their list.

13                  THE COURT:    All right.    I want to put that in the

14      same pile with 162 and 163 and let you try to come through and

15      narrow them down and --

16                  MR. CAMPOAMOR-SANCHEZ:      Will do, Your Honor.     I just

17      want to point out that this is after the Tymoshenko meeting,

18      this is just them talking about meeting with prosecutors on

19      Project Two in July.      So this was, I think, a much different

20      document than the 162 and 163 in terms of raising concerns

21      about --

22                  THE COURT:    Right.    But just the whole -- I think

23      there's some relevance to the overlap with the concerns that

24      have alleged to be motivating, the alleged omissions and false

25      statements for the purposes of avoiding the disclosures
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 1      involved in registration.

 2                  MR. CAMPOAMOR-SANCHEZ:      Right.

 3                  THE COURT:    And the fact that there was a Project Two

 4      and who was paying for all of it, could bear on those issues.

 5      I think it's relevant.      I think every email related to meetings

 6      related to Project Two and who's going to go and who's not

 7      going to go with, can be trimmed down substantially, in light

 8      of this conversation.

 9                  MR. CAMPOAMOR-SANCHEZ:      Yes.

10                  THE COURT:    So 172 will go in the same box as 162 and

11      163, as the Project Two documents that we're reserving on until

12      they've been narrowed.

13                  173, I know there's no objection to but it reminds me

14      that I wanted to ask you a question today.          Is it certain that

15      Vin Weber is not going to be a witness in this trial?

16                  MR. CAMPOAMOR-SANCHEZ:      Yeah.    I don't -- not for the

17      government.    I don't know if the defense --

18                  MR. MURPHY:    We have no intention of calling

19      Mr. Weber, Your Honor.      He's under investigation in the

20      Southern District of New York, that seems to go on forever.

21                  THE COURT:    Well, that's neither here nor there.

22      Just poses a recusal issue for me.        So I want everybody to know

23      that.

24                  MR. CAMPOAMOR-SANCHEZ:      Yeah, he's not --

25                  THE COURT:    I've never represented him, but people
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 1      from whom I usually recuse do.        So, not that it's ever come up.

 2                  All right.    175.

 3                  MR. CAMPOAMOR-SANCHEZ:      Your Honor, we'll withdraw

 4      it.

 5                  THE COURT:    Okay.

 6                  MR. ABELSON:    I'm sorry.    That was 175?

 7                  MR. CAMPOAMOR-SANCHEZ:      Yes.

 8                  THE COURT:    So is the trick to do this after 4:30,

 9      then exhibits start to fall by the wayside?          I'll have to try

10      to remember that in the future.

11                  The next one is related to the motion in limine.

12                  222, I think is our next one.

13                  MR. MURPHY:    Your Honor, it's in my bucket.        It's one

14      of these, Are you free for a phone call?         Here's my number.

15      Nothing of substance is said.       I don't know why it's relevant.

16                  MR. CAMPOAMOR-SANCHEZ:      I'd be happy to explain, Your

17      Honor.   As the Court has already heard, there's a lot of

18      allegations by the defense that Mr. Hawker really did not have

19      any contact with Mr. Craig about the report.          And this is one

20      of those emails that actually tends to show that in fact there

21      was contact because they were arranging to have conversation.

22      Of course, Mr. Hawker will be available to testify about it.

23                  THE COURT:    All right.    As long as he's able to

24      testify about what this is, what he's going to talk about.           All

25      right, it's admitted.
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 1                  253, though, raises some hearsay concerns.

 2                  MR. CAMPOAMOR-SANCHEZ:      Mr. Kilimnik is not going to

 3      be a witness.

 4                  THE COURT:    He's not coming to this courtroom?

 5                  MR. CAMPOAMOR-SANCHEZ:      He's not coming.     This is

 6      for -- the only reason it would be offered is for the

 7      non-hearsay purpose that Mr. Hawker, who can testify, said

 8      these are the instructions I received in preparation for the

 9      Harvard Club meeting, as to what I was supposed to do.           That is

10      it.   It's not really for the truth of the matter, but this

11      corroborates the fact that he was getting instructions, who he

12      was getting them from, and what he was supposed to do to

13      prepare for that meeting with Mr. Craig.

14                  THE COURT:    Well, and part of it is Kilimnik is

15      saying that Manafort is asking him to do these things, and

16      Kilimnik isn't going to say that he talked to Manafort about

17      it.   On the other hand, I don't have any problems with --

18                  MR. MURPHY:    Your Honor, to make this faster --

19                  THE COURT:    Yes.

20                  MR. MURPHY:    If there's an appropriate kind of

21      hearsay instruction, that this is not being offered for the

22      truth.   But, you know, we don't object.

23                  THE COURT:    All right.    Well, I'm not even sure there

24      is a matter asserted in it, I'm even trying to figure that out.

25      But to the extent it is, it's not being offered for the truth.
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 1      Okay.

 2                  MR. CAMPOAMOR-SANCHEZ:       This same email appears in

 3      Defendant's 141, by the way.        It's just a further chain.    So

 4      the defense also has it on their list.

 5                  THE COURT:     Okay.    So you can admit it.    And if it

 6      requires some sort of instruction to go with it -- it's hard to

 7      figure out what the matter is that's being asserted that we're

 8      worried about, other than that Paul wants this.          But again,

 9      that seems to me, it was said, so it's relevant to why Hawker

10      did what he did.

11                  256.   Okay.   This is from van der Zwaan, who is also

12      not going to testify.

13                  MR. CAMPOAMOR-SANCHEZ:       Your Honor, if -- this, I

14      thought, was one of the completeness ones, because the defense

15      did not object to 257.

16                  THE COURT:     It was completeness and hearsay, and they

17      took away the completeness, but they left the hearsay, so we

18      didn't rule on it in that pile.

19                  MR. CAMPOAMOR-SANCHEZ:       Okay.   So they did not object

20      to 257, which includes the exact same email chain.           And the

21      reason we were separating it into two was so Miss Weiss, who's

22      the recipient about this and can testify about this, was not

23      part of the chain in 257, where it's just Mr. Hawker and

24      Mr. van der Zwaan talking.         So if the Court looks at 257, it's

25      the exact same email at the bottom, but then it morphs into a
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 1      conversation between Mr. Hawker and Mr. van der Zwaan.            And

 2      there was no objection to 257.

 3                   MR. ABELSON:   Your Honor, we'll withdraw this

 4      objection.

 5                   THE COURT:    All right.   Okay.   So it's admitted.

 6                   There's a hearsay objection, 274.

 7                   MR. CAMPOAMOR-SANCHEZ:     274, Your Honor?

 8                   THE COURT:    I think so, I think that's the next one.

 9                   MR. CAMPOAMOR-SANCHEZ:     I thought it was 264A.

10                   THE COURT:    Sorry.   I skipped one.    I did.     Sorry.

11                   Now, this gets into when he's saying he's not going

12      to do backgrounding with journalists.         And as far as I can see,

13      the difference between 264 and 264A was kind of who responded

14      at the top.

15                   MR. CAMPOAMOR-SANCHEZ:     Um-hum.

16                   THE COURT:    So just let me ask the defendant, what's

17      the hearsay in 264A that's missing from 264 that's

18      problematical?

19                   MR. MURPHY:    Your Honor, Mr. Manafort's statement,

20      Okay, we can make this work, if offered for the truth is

21      hearsay.

22                   THE COURT:    Truth of what?

23                   MR. MURPHY:    That we can make this work.

24                   THE COURT:    All right.   So it just comes in for the

25      fact that he said it, is that why you want it?
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 1                  MR. CAMPOAMOR-SANCHEZ:      Yeah, it's really for the

 2      fact that the conversation continued.         So despite, you know,

 3      this reversal -- you know, we allege it's a reversal to the

 4      reversal, but this is just a fact that the conversation

 5      continued, not for the truth of what's asserted.

 6                  THE COURT:    All right.    And if one of these documents

 7      comes up and I said I would give that instruction, and I don't

 8      say anything immediately, you can just say, you know, Your

 9      Honor, can you give the instruction? and I will.

10                  MR. MURPHY:    Thank you.

11                  THE COURT:    All right.    Now we're 274.     You're

12      actually going to be using the Elmo and not, like, some

13      computer that puts these onto screens when you're doing the

14      trial?

15                  MR. CAMPOAMOR-SANCHEZ:      No, we're using the computer

16      Your Honor, yes.     This was for today.

17                  THE COURT:    Okay.   When you said it, I thought, it

18      will be a long trial.

19                  All right.    So, I don't see this as hearsay because I

20      don't see a matter being asserted, the truth of any matter

21      being asserted.     It's just here's an outline, what it should

22      be, I'm transmitting it to you, Jonathan Hawker and Rick Gates

23      are going to say we got it.

24                  MR. MURPHY:    There's a false statement by

25      Mr. Manafort, which is that the outline presents the top two
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 1       findings to exonerate the president of any bribe or activity.

 2       I mean, if he's actually purporting to characterize what the

 3       report says, it's directly false.

 4                   MR. CAMPOAMOR-SANCHEZ:      Your Honor, this is simply

 5       for the fact of what Mr. Hawker received.

 6                   THE COURT:    All right.    It will come in for the fact

 7       it was received, and not for any characterization of the report

 8       by Mr. Manafort.

 9                   306 is just sort of a standalone Skadden Report,

10       rollout plan.    Who's going to lay the foundation for this,

11       explain what it is?      How does this come in evidence?         It

12       certainly doesn't walk in on its own.

13                   MR. CAMPOAMOR-SANCHEZ:      Yeah, it's Miss Lucy-Claire

14       Saunders.    If the Court looks at page 3, we have the metadata

15       for the document.     She's the author of this document and she's

16       the one that can lay the foundation and authenticate it, and

17       she'll be available to testify.

18                   THE COURT:    But what happened to it?      This is her

19       plan that she's proposing, is -- was it then -- is she going to

20       say that it was reviewed with anybody, that --

21                   MR. CAMPOAMOR-SANCHEZ:      These were instructions she

22       received to prepare their plan.        So it was not her decision to

23       put both Mr. Sanger and Al Hunt of Bloomberg.          But who this is

24       being received from is going to tie with other evidence.

25                   So, essentially, this is where Mr. Weber works.           And
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 1       she received the instructions to prepare this plan.              And this

 2       is also going to tie into other evidence where Mr. Craig was

 3       having the report, a draft of the report delivered to Mr. Weber

 4       at the same time, while both of them were in Egypt together.

 5       So this all matches what we assert, which is he in fact

 6       provided the report to Mr. Weber, contacted Mr. Sanger in

 7       October, and this was the plan at that time, as we allege,

 8       which is Mr. Sanger is going to be one of those journalists

 9       that's going to be backgrounding on this.

10                    THE COURT:   But is there something that says he got

11       this plan?

12                    MR. CAMPOAMOR-SANCHEZ:    No.   No, we have other

13       evidence that together we will make that argument, that he knew

14       about the case.     But what this part of the case is, Miss

15       Lucy-Claire Saunders, who worked at Weber and for Mr. Weber,

16       got the instructions to put this together.         And this is at the

17       same time that Mr. Craig is personally emailing Mr. Sanger and

18       putting him in contact with Mr. Weber, and also sends Mr. Weber

19       a copy of the Skadden Report.

20                    So, this is Miss Saunders, who understood she was

21       supposed to be helping out with the Skadden rollout plan, these

22       are the instructions she got as to what to include.

23                    THE COURT:   From whom?

24                    MR. CAMPOAMOR-SANCHEZ:    From Mr. Weber, her

25       supervisors at Mercury.
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 1                  THE COURT:    All right.    So she is going to say I was

 2       told to prepare this plan, I prepared this plan.

 3                  MR. CAMPOAMOR-SANCHEZ:      Correct.     And when she

 4       prepared --

 5                  THE COURT:    It's a plan, at this point, in Weber's

 6       head.   And --

 7                  MR. CAMPOAMOR-SANCHEZ:      Yes, she obviously can't say

 8       where that came from, right.

 9                  THE COURT:    So it's a plan that has been now

10       transferred from Weber's head to a piece of paper by --

11                  MR. CAMPOAMOR-SANCHEZ:      Miss Saunders.

12                  THE COURT:    Miss Saunders.     So --

13                  MR. CAMPOAMOR-SANCHEZ:      And the date of it is

14       important, which is October 3rd of 2012.

15                  THE COURT:    Okay.    And then -- but does this plan

16       ever end up in a Skadden email?

17                  MR. CAMPOAMOR-SANCHEZ:      We do not have evidence that

18       this ended up in a Skadden email.        What we have is evidence

19       that Mr. Craig was in contact at this very time with Mr. Weber

20       and Mr. Sanger and providing the report to Mr. Weber.            We have

21       that.

22                  I am reminded by my colleagues that Mr. Craig had

23       previously received a plan that identified Mercury as a

24       designated party, somebody that would be involved with the

25       media plan.    So that's also something we --
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 1                  THE COURT:    That's different.

 2                  MR. CAMPOAMOR-SANCHEZ:      Right.

 3                  THE COURT:    I mean, I think your point is that his

 4       activities were consistent with this plan.

 5                  MR. CAMPOAMOR-SANCHEZ:      Right.

 6                  THE COURT:    But, I don't see how you're tying the

 7       plan to him.    You're just tying the activities to him.

 8                  MR. CAMPOAMOR-SANCHEZ:      Right.    So I'm tying the plan

 9       to him through testimony.      So, for example, there will be

10       testimony that at the Harvard Club meeting Mr. Craig himself

11       suggested Mr. Sanger ask the journalist that would be seeded or

12       provide the background.

13                  THE COURT:    Before this was --

14                  MR. CAMPOAMOR-SANCHEZ:      Correct.    This is in

15       September 23rd, if I'm right from memory.         And that's -- a lot

16       of this, what the Court will hear at trial, is about what

17       happened at that Harvard Club meeting, the discussion and the

18       alleged reversal by Mr. Craig is his agreement to do the

19       backgrounding, and then what we believe is his reversal to the

20       reversal, where he is now taking action.         And we do have the

21       emails where he contacts Sanger on October 3rd, or thereabouts,

22       sending -- you know, putting him in contact with Mr. Weber to

23       carry out what we believe is the media plan.

24                  THE COURT:    So there's going to be testimony about

25       the meeting.
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 1                  MR. CAMPOAMOR-SANCHEZ:      Correct.    The Harvard Club

 2       meeting.

 3                  THE COURT:    Weber was at the meeting?

 4                  MR. CAMPOAMOR-SANCHEZ:      I'm sorry?

 5                  THE COURT:    Weber was at the meeting?

 6                  MR. CAMPOAMOR-SANCHEZ:      No.    That was Manafort,

 7       Gates, Hawker, Craig, van der Zwaan.         I think I'm not missing

 8       anybody.

 9                  THE COURT:    So someone will say they had a plan.

10                  MR. CAMPOAMOR-SANCHEZ:      Correct.

11                  THE COURT:    And you're suggesting that this document

12       is consistent with the plan.       But what ties this document to

13       the meeting, if Weber wasn't there?        Who told Weber what to do,

14       we don't know.

15                  MR. CAMPOAMOR-SANCHEZ:      Gates.

16                  THE COURT:    Will Gates say that?

17                  MR. CAMPOAMOR-SANCHEZ:      Yes.    Gates was -- in fact,

18       there's documents where Gates is sending the media, the D.C.

19       media consultant's plans to Weber and Podesta.

20                  THE COURT:    Well, subject to doing this in

21       chronological order, there's a meeting at which a plan is

22       developed and Mercury has a role.        And you can establish that

23       that gets told to Weber.      And she can say Weber told me to

24       write this on a piece of paper and she writes it on a piece of

25       paper, then I think it's -- we have a foundation for its
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 1       relevance --

 2                  MR. CAMPOAMOR-SANCHEZ:      But I want to make it clear

 3       that we don't think it's a coincidence that Mr. Weber and

 4       Mr. Craig are on this trip together in Egypt, that Mr. Craig --

 5       and we have the emails for this -- asked his assistant to reach

 6       out to Mr. Sanger, get the information.         He reaches out to

 7       Mr. Sanger, puts him in contact with Mr. Weber, and then has

 8       his assistant give a draft report directly to Weber's office at

 9       the same time that Mr. Weber is telling Miss Saunders to put

10       this together.

11                  THE COURT:    I understand that.      I'm saying it had to

12       sort of precede or follow something to be relevant.              You've

13       established its relevance.      I think, though, what it doesn't

14       show doesn't mean it's not admissible as a link in a chain.

15       You can't argue that it's more than what it is.          You can't

16       suggest that he saw it, he didn't see it, just because it's

17       called Skadden rollout plan -- Skadden Report.

18                  MR. CAMPOAMOR-SANCHEZ:      Right.    And Miss Saunders

19       cannot say that and I don't have a witness that will say that.

20                  THE COURT:    Subject to coming in in that chronology

21       and her laying the foundation and the meeting happening

22       first --

23                  MR. MURPHY:     Your Honor, may I be heard before you

24       indicate a ruling on this?

25                  THE COURT:    Yes.
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 1                  MR. MURPHY:     Miss Saunders, we have her 302.       She has

 2       no idea whether anybody talked to Mr. Craig about this.          She

 3       never talked to Mr. Craig about this.

 4                  MR. CAMPOAMOR-SANCHEZ:       We're not saying that.

 5                  THE COURT:    They're not saying anybody talked to

 6       Mr. Craig about it.

 7                  MR. MURPHY:     Okay.     At the meeting on September the

 8       23rd, there was a discussion about backgrounding journalists,

 9       we would concede that.      Mr. Craig later said I'm not going to

10       do that.   That was two days later.       And then the people who

11       were at the meeting, the FTI people, Hawker, he continued to

12       create media plans.     He doesn't have Mr. Sanger's name on any

13       of the media plans that he created after September the 23rd,

14       until December the 6th.      Okay.    So three months go by before he

15       puts David Sanger's name on the plan.

16                  We do know that Mr. Craig and Mr. Weber were on a

17       Middle East trip together with -- in connection with an

18       international institute --

19                  THE DEFENDANT:     Washington Institute.

20                  MR. CAMPOAMOR-SANCHEZ:       The Washington Institute that

21       was engaged in the Middle East peace process.          In the course of

22       that trip Mr. Weber asked Mr. Craig about the Ukraine.

23       Mr. Craig described what he was doing.        Mr. Weber asked

24       Mr. Craig, Can you put me in touch with David Sanger?

25       Mr. Craig said, Yes, I can.        He sent an email to Mr. Sanger
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 1       saying Mr. Weber may be contacting you, and Mr. Weber

 2       thereafter contacted Mr. Sanger.

 3                    That's the chronology of what happened.       This plan, I

 4       don't know why it was created by Mr. Weber.         I don't know why

 5       Miss Saunders put it on paper.       And she doesn't know why

 6       either.    So I don't think the document should come in.

 7                    THE COURT:    Well, I want to at least hear her

 8       testimony.    I think it sounds like, from the meeting and from

 9       her testimony, there will be sufficient foundation for I wrote

10       this based on Mr. Weber's instructions, and that's all it is.

11       It's not trying to be more.

12                    MR. MURPHY:   But she wasn't at the meeting.

13                    THE COURT:    I understand that.

14                    All right.    What happened between Mr. Craig and

15       Mr. Weber -- well, Mr. Weber, you're not calling Mr. Weber, so

16       that will be in evidence if it comes in evidence.

17                    MR. MURPHY:   Well, Your Honor, can you just reserve

18       ruling on it until you hear more about the September 23rd

19       meeting?   Because without the foundation that Mr. Campoamor

20       suggests will be created by the September 23rd meeting, then

21       this document loses its relevance.

22                    THE COURT:    I said, assuming that foundation is laid,

23       I would admit it.     Obviously, if we get to they're starting to

24       ask her about it and you don't think it's been made, you can

25       come to the bench.
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 1                  MR. MURPHY:     Thank you, Your Honor.

 2                  THE COURT:    All right.    All right.    I think we're

 3       talking about 324.     Okay.   I don't think its hearsay.        But,

 4       what is it?

 5                  MR. ABELSON:     It's a question raised by Mr.

 6       van der Zwaan.    We don't see any relevance to this, Your Honor.

 7                  THE COURT:    I'm sorry.    When I meant what is it, I

 8       was asking the government.

 9                  Your objection is relevance and hearsay.          I don't

10       think it's hearsay.     Why is it relevant?

11                  MR. CAMPOAMOR-SANCHEZ:      It's relevant, Your Honor

12       because, as we understand the defense, they're going to try to

13       claim that Mr. van der Zwaan was acting on his own and that he

14       was not -- or, that he was keeping Mr. Craig excluded from

15       things.   And Mr. Gates will be available to testify that,

16       indeed, as they were getting ready to roll out the media plan,

17       Mr. van der Zwaan had a number of activities he had to engage

18       in, but he wanted to make sure that Mr. Gates had cleared that

19       directly with Mr. Craig.

20                  And the following, I believe, email that you'll see,

21       or -- yes, email, is confirmation or corroboration with

22       Mr. Gates' testimony that he was in fact trying to reach and

23       ultimately, I believe, did talk to Mr. Craig about these

24       things.

25                  THE COURT:    Well, what -- I mean --
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 1                  MR. CAMPOAMOR-SANCHEZ:      I can certainly get

 2       testimony --

 3                  THE COURT:    -- the things, there may have been some

 4       things that they discussed with each other.         There may have

 5       been some things they didn't discuss with each other.            I think

 6       it may be a matter of public record that there were some things

 7       that they didn't discuss with each other.         That doesn't mean

 8       they didn't discuss anything with each other.          So --

 9                  MR. CAMPOAMOR-SANCHEZ:      Your Honor, we --

10                  THE COURT:    The only thing that matters here is what

11       Mr. Gates is going to say Mr. Craig said.

12                  MR. CAMPOAMOR-SANCHEZ:      Okay.    And we'll -- I will

13       withdraw the exhibit, Your Honor.

14                  THE COURT:    All right.    324 and -26.     I mean, if you

15       need them to just -- to get to the chronology.

16                  MR. CAMPOAMOR-SANCHEZ:      Right.

17                  THE COURT:    But, they independently don't really

18       establish what they discussed.       And you can use them with

19       Gates, I guess, but that's it, just to say did you talk to him

20       after you -- did you talk to him during this time period and

21       what did you discuss?

22                  MR. CAMPOAMOR-SANCHEZ:      Right.    So -- and I should --

23       my colleagues have pointed out that actually 326 is different

24       because it is actually an email to Mr. Craig --

25                  THE COURT:    Right.    Okay.
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 1                  MR. CAMPOAMOR-SANCHEZ:      -- where now his assistant is

 2       indeed reaching out and asking him whether Mr. Gates -- again,

 3       I'll -- this is corroboration, really, what I expect Mr. Gates'

 4       testimony to be, but it's slightly different than 324.

 5                  THE COURT:    It seems to me if he forgets the dates

 6       and times, you can use these.       But otherwise, they don't really

 7       say anything.     I don't think they're hearsay, but I don't think

 8       they're necessary either.       I agree with you.

 9                  365.    All right.    Tell me what ANSA stands for.

10                  MR. CAMPOAMOR-SANCHEZ:      It's an Italian publication.

11                  MR. MURPHY:     It's an Italian news service.

12                  THE COURT:    Why is that relevant?

13                  MR. CAMPOAMOR-SANCHEZ:      That was part of the media

14       rollout plan.     So this is to corroborate that, in fact,

15       Mr. Craig was participating in Ukraine's media rollout plan.

16       Mr. Gates is, of course, available to testify.          And, you know,

17       he is instructing those two individuals about what the plan is,

18       which is Greg has asked that Jonathan -- that being

19       Mr. Hawker -- provide preliminary background to reporters so

20       Greg's time can be used for specific questions.

21                  Following the call with Jonathan, Claudia will call

22       Greg, and Greg is free until a particular time to take the call

23       from the journalist.

24                  THE COURT:    If he provided background information or

25       answered specific questions from Italian reporters --
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 1                  MR. CAMPOAMOR-SANCHEZ:      Right.    So the key here is,

 2       and the Court was getting to this yesterday, his whole premise

 3       to the FARA was that he was just reacting to misinformation

 4       that happened, as there was reporting about his report.

 5                  This is corroborating evidence to what Mr. Gates will

 6       say, that in fact Mr. Craig was participating in the Ukraine's

 7       media rollout plan --

 8                  THE COURT:    On the front end.

 9                  MR. CAMPOAMOR-SANCHEZ:      Right.

10                  THE COURT:    But this wouldn't have been something

11       that he would have had to disclose because it wouldn't have

12       been within the United States?

13                  MR. CAMPOAMOR-SANCHEZ:      Well, it's not something that

14       would make him register, but it's certainly not disclosing the

15       fact that he was part of the Ukraine's media rollout plan.        In

16       fact, Mr. Craig told the FARA unit that he didn't know what

17       Ukraine was going to do with this report after he handed it.

18       When he is, you know, copied on all these things and agrees to

19       participate in the media rollout for his report, that's what

20       this goes to.

21                  THE COURT:    Mr. Murphy?

22                  MR. MURPHY:     Your Honor, first of all, as

23       Mr. Campoamor knows --

24                  THE COURT:    Okay.    Everybody keeps saying that, and I

25       said to you from the beginning, just tell me what you want to
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 1       tell me about the facts, without casting aspersions about the

 2       credibility of your opposing counsel.

 3                   MR. MURPHY:    Mr. Craig never spoke to Claudio

 4       Salvalaggio, who is the reporter from ANSA.         No one ever

 5       contacted Mr. Craig to talk to Mr. Salvalaggio about the

 6       report.    In fact, other people who Mr. Craig had no knowledge

 7       of contacted Mr. Salvalaggio of ANSA, and ANSA wrote a story

 8       that is the most ridiculous story about the Tymoshenko report

 9       that you can imagine.      And the people that put that together

10       were Allen Friedman and Eckhart Sager and a person named Andrea

11       Gianotti, I believe, who was working with those two folks over

12       in Kiev.   The fact that Mr. Gates is purporting to say, Contact

13       Mr. Greg -- Mr. Hawker to talk to Mr. Craig.         None of that is

14       true and none of it happened.

15                   We have spoken to Mr. Salvalaggio, the government has

16       spoken to Mr. Salvalaggio.      He says that he had other sources

17       for this story, he never heard of Greg Craig, and this whole

18       thing is a fiction.

19                   THE COURT:    Well, it doesn't say anything happened,

20       it says it's supposed to happen.       I think Mr. Gates can testify

21       to it.    Let's leave it there.     If this document becomes

22       important in rebuttal, or in cross-examination of someone, then

23       we can talk about it.      But for now let's exclude it.         But the

24       fact of what Mr. Craig was saying he would do or wouldn't do as

25       part of the overall rollout, I think Mr. Gates did testify to.
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 1       But -- so let's just leave it there.

 2                   I think we're at 393.     This the one of the well-done

 3       emails.    Two of them.

 4                   All right.    What is the fact that we think this is

 5       being introduced for the truth of -- what fact is being

 6       asserted here that gives rise to the hearsay?          Read me the

 7       hearsay.

 8                   MR. MURPHY:    Your Honor, this is Mr. Manafort

 9       reporting to Mr. Greg Craig that the initial rollout has been

10       very effective and your backgrounding has been key to it all.

11       The fact of the matter is, that the things that Mr. Manafort is

12       talking about here, Mr. Craig had actually nothing to do with.

13       It's the ANSA report, it's the Ukraine Ministry of Justice

14       press release, neither of which Mr. Craig had anything to do

15       with.   They are both contrary to the opinions that were reached

16       in the Skadden Report.      The articles that were written were

17       false spins.

18                   And, you know, I don't know exactly why Mr. Manafort

19       wrote this, but he's not going to be here to testify about it,

20       we're not going to be able to cross-examine him about the truth

21       of the fact.    And the true fact is that the report that was --

22       the way it was characterized in the European press was directly

23       contrary to the conclusions that Skadden had reached.            And why

24       Mr. Manafort said this to Mr. Craig, I don't know.          But he's

25       not going to be around for me to cross-examine him to find out
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 1       why he said this.

 2                    THE COURT:   Well, some of it is focused on the

 3       European, some of it isn't.       Everyone in Kiev is happy, they

 4       like the report, they're especially happy with the way the

 5       media is playing it.      The next sentence, certainly, European

 6       reaction has been positive.       All right.    Mr. --

 7                    MR. CAMPOAMOR-SANCHEZ:    Campoamor.

 8                    THE COURT:   Tell me why, if we don't have Paul

 9       Manafort to say what he meant by all this -- I certainly

10       understand why the government thinks it's important, and I

11       think there may be -- clearly it reflects Mr. Manafort's state

12       of mind, that Mr. Craig played a role.

13                    MR. CAMPOAMOR-SANCHEZ:    And, Your Honor, Mr. Craig

14       responded to this email, and Mr. Craig, in his own words, you

15       know --

16                    THE COURT:   Well, where's that one?

17                    MR. CAMPOAMOR-SANCHEZ:    396.

18                    THE COURT:   Let's look at that one.

19                    All right.   Well, what he says is really nothing in

20       response to that.

21                    MR. CAMPOAMOR-SANCHEZ:    Right.    Which is actually

22       important.    I mean, Mr. Manafort is congratulating him because

23       of his backgrounding and Mr. Craig doesn't say, No, I didn't

24       background anybody; what are you talking about?          I didn't

25       understand.    He just says, No, this was terrific.        I'm glad it
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 1       went to so well.     And then he goes on to talk about perhaps

 2       having meetings with the President of Ukraine about this.

 3       That's important.     This is -- whether what Manafort said is

 4       true or not, his reaction to this says a lot about the fact

 5       that he was knowledgeable about and participated in Ukraine's

 6       media rollout plan.

 7                  MR. MURPHY:     Your Honor?

 8                  THE COURT:    Yes.

 9                  MR. MURPHY:     With respect to this document, to

10       understand it one has to have the Kyiv Post, because the Kyiv

11       Post wrote an article that was a scathing critique of the

12       Ukraine's actions in the trial of Yulia Tymoshenko.              And the

13       Kyiv Post quoted the Skadden Report and then quoted the

14       statements that were being promulgated by the Ukraine and FTI,

15       and said the Ukraine is trying to say that this report

16       exonerates the Yanukovych regime.

17                  In fact, this report excoriates the Yanukovych

18       regime.   She should be released because the report says this,

19       this, and this.     So when Mr. Craig responds, he is responding

20       to Mr. Manafort, he's saying, I thought the piece in the Kyiv

21       Post was terrific, Mr. Manafort, not the pile of garbage that

22       was reported in the European press that you're talking about.

23                  So there's a lot of context to this but, nonetheless,

24       we're not going to have Mr. Manafort here to explain what he

25       meant and what he understood what Mr. Craig meant when
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 1       Mr. Craig said, Read the Kyiv Post, Paul, that's the true story

 2       of our report.

 3                  MR. CAMPOAMOR-SANCHEZ:       This is a statement of a

 4       party opponent that's responding to what's below.          And if

 5       Mr. Craig decides to testify, and that's his right, great.            If

 6       he doesn't, that's also fine.       And I'm sure Mr. Murphy or

 7       Mr. Taylor would make great arguments about how to put this in

 8       context to the jury.     But I get to make the arguments, too, and

 9       I think it has a much different meaning, when you put it all in

10       context, as to what really is going on here.

11                  THE COURT:    All right.

12                  MR. MURPHY:     Your Honor, if I just may.      Defendant's

13       Exhibit 248 includes this chain with the Kyiv Post article,

14       which makes it a complete statement, at least.          I think the

15       Kyiv Post article --

16                  MR. ABELSON:     Different chain.

17                  MR. MURPHY:     I'm sorry.    Different chain, but it's

18       the Kyiv Post article that I think has to be attached to this.

19                  MR. CAMPOAMOR-SANCHEZ:       It wasn't attached to the

20       email.

21                  MR. MURPHY:     And for some reason the government is

22       not introducing it.

23                  THE COURT:    Well, if it wasn't attached to the email,

24       I don't know that they have to attach it.         All right.     I'm -- I

25       don't think we need 393 and 396.        If it comes in, it will be
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 1       396.   What's the defense document that you say is useful for

 2       completeness?

 3                  MR. ABELSON:     248, Your Honor.

 4                  THE COURT:    All right.     So, I'm going to take 396

 5       under advisement.     And 393, I don't think we need if 396 is

 6       going to come in.

 7                  MR. MURPHY:     With an instruction, Your Honor, with

 8       respect to Mr. Manafort's statements?

 9                  THE COURT:    I haven't decided whether it is coming in

10       or not at all.

11                  MR. MURPHY:     I'm sorry.

12                  THE COURT:    Yes, if it does --

13                  MR. MURPHY:     I misheard.

14                  THE COURT:    -- I understand you want me to say that

15       it would not come in for the truth of any matter asserted.          So

16       if it does come in, that would be the instruction.

17                  I think we're up to 402.       I would like to at least,

18       if we can, finish the government exhibits.         There aren't that

19       many more that we haven't talked about that aren't completeness

20       or aren't photographs or related to the motion in limine.

21       Let's try to do --

22                  MR. ABELSON:     That's right.    I think 402 is the next

23       one.

24                  THE COURT:    Yes, I'm on it.

25                  All right.    Now, this, he's just pasting in headlines
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 1       of what's all over and saying here's the coverage, you're the

 2       man.   He's happy.    People in Kiev are happy.      It's not sure I

 3       see the hearsay there.

 4                    MR. ABELSON:   So --

 5                    THE COURT:   Go ahead.

 6                    MR. ABELSON:   Sure seems to us that the only relevant

 7       purpose for this document is for the truth of what Mr. Manafort

 8       is saying.    So what he's forwarding here, a number of articles,

 9       none of which are publications Mr. Craig spoke with.             Leads

10       with the ANSA article that Mr. Murphy referred to and that is

11       parroting in the Ministry of Justice's press release which says

12       that Skadden has found that there was no political persecution

13       motivation here.

14                    What Mr. Manafort is saying here is the people in

15       Kiev are happy, meaning your participation -- alleged

16       participation in this rollout scheme -- in the rollout is what

17       they were looking for, that you participated, and that this

18       coverage resulted from your media contacts.

19                    THE COURT:   It doesn't even necessarily say that.           I

20       mean, to this, it could be that he wrote a great report, you're

21       the man.

22                    MR. ABELSON:   I don't think that's the purpose and

23       the meaning that the government will say was meant by Paul

24       Manafort, who, again, will not be here to be cross-examined.

25                    THE COURT:   Right.    And given the fact -- I mean, the
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 1       other one did say your background is the key to it all.          This

 2       just says, Here's the coverage, you're a star in the headlines.

 3       But if he's in the headlines, he's in the headlines for writing

 4       the report, obviously, right?

 5                    MR. CAMPOAMOR-SANCHEZ:    Um-hum.

 6                    THE COURT:   So.   What are -- what -- ladies and

 7       gentlemen of the jury, please take a look at Exhibit 402 and

 8       draw the following inference.       What are you going to say?

 9                    MR. CAMPOAMOR-SANCHEZ:    What I say, Your Honor, is

10       that this is relevant for the fact that it was sent to

11       Mr. Craig.    Mr. Craig is going to be claiming that he knew

12       nothing about the media rollout plan, that he did not

13       participate in the media rollout plan.        And yet, Mr. Manafort,

14       who clearly is behind the media rollout plan, keeps sending him

15       these emails.    It has relevance just because it was sent to

16       Mr. Craig.

17                    THE COURT:   But do you understand that it doesn't

18       necessarily congratulate him for that, and we don't have

19       anybody to explain the ambiguity.

20                    MR. CAMPOAMOR-SANCHEZ:    No, I understand, but --

21                    THE COURT:   The other one was very much tied to, this

22       is getting great coverage; thanks for your help with the

23       coverage.    This is, the report's all over the place --

24                    MR. CAMPOAMOR-SANCHEZ:    Right.    And he is sending all

25       these clips of the media updates.        And this is the fact that
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 1       he's sending it to Mr. Craig, we would argue, is consistent

 2       with the fact that Mr. Craig knew about the plan, had

 3       participated in the plan, and Mr. Manafort is letting him know

 4       the outcome of that plan.

 5                  MR. ABELSON:     Just to make one other point, Your

 6       Honor, which is Mr. Craig is not going to claim that he didn't

 7       receive this email and wasn't aware that there was press

 8       coverage of the report and the fact that it was rolled-out.

 9       The government refers to the plan, but this has nothing to do

10       with the plan because Mr. Craig had nothing to do with these

11       publications.    So your point is exactly on point, which is this

12       has no relevance, and the purpose for which the --

13                  THE COURT:    I think the purpose for which it's said

14       is ambiguous.    And absent Mr. Manafort to explain it, I think

15       that --

16                  MR. ABELSON:     Right.

17                  THE COURT:    -- the relevance is not clear enough.

18                  MR. CAMPOAMOR-SANCHEZ:      All right.    Obviously --

19                  THE COURT:    The other one, I get it.       This one I

20       think is a little unfair to ask the jury to draw some inference

21       from words that aren't in it, a person who won't be here to

22       explain it and who played a role in the whole exercise, not

23       just the PR.    But in the fact that there was a law firm doing

24       this, that was all --

25                  MR. CAMPOAMOR-SANCHEZ:      Well, I guess the Court has
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 1       not yet ruled on 396.      I think that if the Court --

 2                  THE COURT:    I have not yet ruled on 396, that is

 3       correct.

 4                  MR. CAMPOAMOR-SANCHEZ:      So if the Court were to rule

 5       that we could at least use 396, then I guess --

 6                  THE COURT:    I understand that.      But I'm saying of the

 7       two, that one at least bears some indication of its relevance

 8       on its face.    This one -- I mean, I really can't -- I don't

 9       know what he's saying.      And I understand why you're saying he's

10       saying, Look at this great press.        But he could just be saying,

11       Look at the great press about a great report -- you know, your

12       job; you did what you need to do.        You have -- what we always

13       hoped this report would do, it's doing.

14                  And so, that goes to maybe why Ukraine wanted Skadden

15       to write a positive report.       But that's different than saying

16       he was involved in the FARA part.

17                  MR. CAMPOAMOR-SANCHEZ:      Understood, Your Honor.

18       And -- but please keep in mind that the defense has argued and

19       will continue to argue that Mr. Craig was essentially

20       sabotaging the plan, that what he said was terrible for

21       Ukraine.   How can -- you know, how could he possibly do this?

22       And this is -- goes to the fact that -- showing Mr. Manafort

23       keeps congratulating him for the press's use of the report.

24                  THE COURT:    Well, if he testifies that it was

25       actually a very disappointing plan because I was so harsh on
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 1       the Ukraine, and so that's how you know whatever it is you need

 2       to know about my intent.      I don't see why you couldn't

 3       cross-examine him with the fact that the members of his own

 4       team were ecstatic.      But that's different.

 5                   MR. CAMPOAMOR-SANCHEZ:      I think, from opening, the

 6       Court will hear that that's the argument that's going to be

 7       made.

 8                   THE COURT:    Well, at that point if you want to say to

 9       me they've opened the door, then I'll hear you.          But for right

10       now I think it's excluded because I think it's ambivalent,

11       ambiguous, and I don't know what it relates to.

12                   All right.    Now, I also couldn't quite understand

13       this one --

14                   MR. TAYLOR:    What number?

15                   THE COURT:    I'm on 421.    And we've talked about the

16       procurement aspect of it.      But where's the hearsay part that

17       you're worried about in addition to that?

18                   MR. ABELSON:    Your Honor, the chain starts with a

19       news article.    It's pasted in by Alex van der Zwaan that

20       contained a lot of statements about the -- well, about the

21       payment matters.     We understand you've ruled on the motion in

22       limine, but the article itself contains hearsay statements.

23       And so --

24                   THE COURT:    Okay.

25                   MR. ABELSON:    So at minimum, the article should be
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 1       redacted, and probably the additional email where

 2       Mr. van der Zwaan is pasting in additional internet links.

 3                   MR. CAMPOAMOR-SANCHEZ:     So, Your Honor, it just goes

 4       to show that Mr. Craig is very well aware that the issue is

 5       very much alive, and that while he is writing letters to the

 6       FARA unit, the issue of payment from Ukraine is still very much

 7       at issue.

 8                   THE COURT:    All right.   Well, to the extent we can

 9       redact statements out of the content of the article beyond the

10       point where he's putting them on notice that it's -- that the

11       fee is in issue, I think we might be able to solve the problem.

12                   MR. MURPHY:    Your Honor, again, with respect to

13       relevance, when the FARA unit asked for copies of the

14       engagements and the agreements, Mr. Craig sent a copy of the

15       most recent, at that time, draft correspondence with the

16       Ukraine about this additional payment.        And when the payment

17       was finalized and the contract was completed, in the next

18       letter he sent the completed contract to the FARA unit.          So I

19       really don't understand the relevance.        This is, again, getting

20       into the second payment issues.

21                   THE COURT:    Okay.   I've already ruled on that.      I

22       think they're allowed to get into it.        I think this can be

23       truncated in some way to leave out statements of fact.           The

24       fact that it was an issue in the press is different from

25       statements of fact being made in what purports to be a news
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 1       article of facts.     So, I think that one can be redacted

 2       somewhat, and otherwise admitted.

 3                    All right.   The next one, 449.     This is another one

 4       of those, Call me tomorrow, Manafort to Craig.          Do we need this

 5       for anything?

 6                    MR. CAMPOAMOR-SANCHEZ:    So this is -- it's to show,

 7       Your Honor, that Mr. Craig was in communication with

 8       Mr. Manafort shortly before he sent the June 3rd letter to the

 9       FARA unit.    That is very much at issue in this case.

10                    THE COURT:   About whether they were still in

11       communication?

12                    MR. CAMPOAMOR-SANCHEZ:    Um-hum.

13                    THE COURT:   It's an issue in your case-in-chief?

14                    MR. CAMPOAMOR-SANCHEZ:    Well, it might be more of a

15       cross-examination, should defendant wish to testify.             But

16       that's why we included this.       That's the point that's being

17       made here.

18                    THE COURT:   All right.   Well, this is one of these

19       documents that -- you can't just walk around with.          At some

20       point it has to be moved in by -- it has to come in somehow.

21                    MR. CAMPOAMOR-SANCHEZ:    Yes.

22                    THE COURT:   And if the fact that they're speaking on

23       May 29th is relevant, fine, and it's not hearsay, it's not

24       prejudicial.    But it doesn't give any indication what they're

25       speaking about.     So it really only comes in if there's some
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 1       suggestion that they weren't talking anymore.

 2                  MR. CAMPOAMOR-SANCHEZ:      Right.    I got it.

 3                  MR. ABELSON:     Just to be clear, Your Honor, I

 4       don't -- they're not going to suggest that that -- they were

 5       discussing the FARA context or the letter, because this

 6       document doesn't provide any of that evidence.

 7                  MR. CAMPOAMOR-SANCHEZ:      Right.    I just said that.

 8       It's just that they were in contact at that time.

 9                  THE COURT:    Okay.    We went through the document

10       history.

11                  We've got travel itinerary, document 526.

12                  MR. CAMPOAMOR-SANCHEZ:      Your Honor, this is one of

13       those documents that -- it just helps to set when the meeting

14       with Mr. Pinchuk took place, or was supposed to take place.

15       But, so we would really only need it if there is a need to

16       establish that.     But we should be able to get that without this

17       document, I believe.

18                  THE COURT:    All right.    So you're withdrawing it at

19       this point?

20                  MR. CAMPOAMOR-SANCHEZ:      Yes, if --

21                  THE COURT:    If it comes up and you need to use it,

22       let us know.

23                  MR. CAMPOAMOR-SANCHEZ:      Thank you.

24                  THE COURT:    528.

25                  MR. ABELSON:     Your Honor, this letter itself is a
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 1       different exhibit.

 2                   THE COURT:   The sticky is the --

 3                   MR. ABELSON:    Right.   The sticky is the only thing

 4       that makes this different, and we don't know what the relevance

 5       of that sticky is.

 6                   THE COURT:   We don't know who wrote it.

 7                   MR. CAMPOAMOR-SANCHEZ:     We do know who wrote it, Your

 8       Honor.    It's actually written by Mr. Craig's assistant.        And

 9       she would testify that essentially she would print this out and

10       provide it to Mr. Craig, and when this was done, which matches

11       up to other emails in evidence that we would have about this --

12       this letter that is dated April 10th, it was really not

13       executed on April 10th.      It was sent to the government of

14       Ukraine, as best as we can establish from the emails, sometime

15       in May.   In fact, May 24th, which is the day after Miss Whitney

16       gave this to Mr. Craig.

17                   THE COURT:   All right.    So she's going to say that

18       she wrote that?

19                   MR. CAMPOAMOR-SANCHEZ:     Yeah.    And this is part of

20       hard copy documents that were in Mr. Craig's files.

21                   THE COURT:   All right.

22                   MR. ABELSON:    Your Honor, we still don't see any

23       relevance of this.     Just to maybe give a quick background on

24       the engagement letter.      So, the -- this -- the version dated

25       April 10th was the original version that was sent to the
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 1       Ministry.    It never got signed.      We've all had experience, the

 2       client takes a while to sign the engagement letter.              The

 3       ultimate one was dated April 5th.        That was the effective date

 4       of the engagement letter.      Okay.   The engagement letter says

 5       what it says.    Among other things, it makes clear that Skadden

 6       wasn't going to take on any activities that would require it to

 7       register under FARA.

 8                   The fact that the letter was sent to Mr. Craig on May

 9       23rd and that his secretary put a Post-it note on it, I don't

10       know what it has to do with anything.

11                   MR. CAMPOAMOR-SANCHEZ:      So this letter of engagement

12       is not that it was negotiated and agreed to and just was sent

13       later.   It was not negotiated or agreed to anywhere near April

14       10th, 2012, and that's the point that we're making.

15                   THE COURT:   I thought you were saying it was the --

16       early on when we talked about this, when there were two, that

17       it had two different dates --

18                   MR. CAMPOAMOR-SANCHEZ:      Correct, correct.

19                   THE COURT:   -- that the first one never went, and the

20       second one went but never got sent back.         When is the one that

21       you allege was backdated and not real?        Is this the one that

22       you're saying was backdated?

23                   MR. CAMPOAMOR-SANCHEZ:      I believe the one that we've

24       been referring to as being backdated is the one that's dated

25       April 5th, because it was -- it's dated April 5th, 2012 and it
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 1       was sent in middle of 2013.

 2                   THE COURT:   All right.    So --

 3                   MR. CAMPOAMOR-SANCHEZ:     But even this letter that has

 4       been essentially represented as the engagement and what they

 5       had agreed to and told Ukraine, this does not happen on April

 6       10th.    It happened well after Mr. Craig knew about the whole

 7       PR, well after he had gotten the PR advice, and it did not get

 8       sent to Ukraine until late May of 2012.

 9                   MR. ABELSON:    Your Honor, I don't have the exhibit

10       numbers in front of me, unfortunately, but I don't think that's

11       correct; that several versions of this were sent to

12       representatives of Ukraine, I believe as early as February.            I

13       would have to check that.

14                   MR. CAMPOAMOR-SANCHEZ:     There's a different letter

15       that was sent to Mr. Manafort and Mr. Schoen on February 20th,

16       had no mention of FARA or not doing any FARA work.          This letter

17       that includes this FARA language did not come into existence

18       until well after April 10th.

19                   THE COURT:   All right.    Are you planning to move --

20       you're planning to move this in?

21                   MR. CAMPOAMOR-SANCHEZ:     So there's two ways, Your

22       Honor.   There's Miss Whitney that can get this in.         There's

23       also a Skadden custodian of records that's available to get

24       this in, if indeed it becomes necessary to get it in.

25                   THE COURT:   Is somebody going to testify as to when
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 1       it was ever mailed to Ukraine?

 2                    MR. CAMPOAMOR-SANCHEZ:     Yes.   So one of the emails

 3       that, in fact, we went over, I believe, previously, which is

 4       Government's Exhibit 149, is the email from van der Zwaan.         So

 5       the date after this Post-it note.        So May 24th is when we have

 6       Mr. van der Zwaan emailing the form to a Ukrainian official.

 7                    THE COURT:   The actual one?

 8                    MR. CAMPOAMOR-SANCHEZ:     The actual letter that was

 9       dated at that point.

10                    THE COURT:   April 10th.

11                    MR. CAMPOAMOR-SANCHEZ:     April 10th, correct.

12                    THE COURT:   So she can say she sent it to him and

13       then --

14                    MR. CAMPOAMOR-SANCHEZ:     There's this email that shows

15       Mr. van der Zwaan forwarding to the Ukraine official the next

16       day.

17                    THE COURT:   All right.    I think everybody can argue

18       about what it signifies, but I think there's somebody that can

19       explain what it is, and it's certainly relevant.          You're both

20       talking about what's in it as being relevant.          So, it will be

21       admitted.

22                    Some day someone is going to give me a list of

23       exhibits in chronological order and it's going to make my life

24       so much easier.     Because I bet you guys both have chrons

25       somewhere.
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 1                  MR. CAMPOAMOR-SANCHEZ:      So, Your Honor, what's

 2       happening, so the Court knows, this is our hard copy files,

 3       that's why they're out of -- so we had it in chron the first

 4       part of the exhibit list and this is just the hard copy files,

 5       that's why they're not in chron.

 6                  THE COURT:    Okay.    What about the -- so, why is the

 7       phone call, May 12, with another sticky -- who wrote the

 8       message on the sticky?

 9                  MR. CAMPOAMOR-SANCHEZ:      So the phone number and the

10       sticky below is Miss Whitney.       The FARA language is Mr. Craig.

11       And we believe this is the first time that, essentially,

12       amongst the team for this phone call, is that FARA was being

13       discussed and the language that should be included in the

14       engagement letter is being discussed.

15                  My colleague says it might not have been the first

16       time, but this is the around the time.

17                  THE COURT:    Didn't you have emails from the beginning

18       of the representation, where they were talking about it?

19                  MR. CAMPOAMOR-SANCHEZ:      Right.    I'm sorry, I'm not

20       speaking clearly.     That including FARA language in the

21       engagement letter is being discussed.

22                  THE COURT:    Is anybody on the call going to say that

23       happened during that call?

24                  MR. CAMPOAMOR-SANCHEZ:      There is an agenda item that

25       is also an exhibit that I believe includes -- their meeting
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 1       minutes, does it mention FARA?

 2                   MR. McCULLOUGH:    It does mention FARA.

 3                   MR. CAMPOAMOR-SANCHEZ:     There's meeting minutes of

 4       this phone call that I believe mention FARA.

 5                   THE COURT:   So why wouldn't -- why wouldn't that be

 6       more important than this?

 7                   MR. ABELSON:    Right.   Your Honor, we think without

 8       any context, foundation, then there's no way to know what the

 9       relevance of this document is.

10                   THE COURT:   We know he's having a call, there is a

11       call, and he wrote, she recognizes the handwriting, the words

12       FARA language on a sticky that went in the file with the title

13       and details.    But, there's participants in the meeting who are

14       going to say that this is when we talked -- that we talked

15       about it?

16                   MR. CAMPOAMOR-SANCHEZ:     Frankly, I believe the

17       testimony from Mr. Haskell, who I believe is the author of the

18       meeting notes, is going to say he doesn't have a specific

19       recollection, but he was very careful about including all the

20       items that was discussed, and that is one of the items that is

21       reflected in the meeting minutes.

22                   THE COURT:   All right.    So this supports the notion

23       that they were talking about -- that the words FARA language

24       had something to do with this phone call.         I feel like it still

25       seems to be more rebuttal cross.
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 1                  MR. CAMPOAMOR-SANCHEZ:       Yes.   And we were trying to

 2       be expansive in our potential exhibits.         But -- yes.

 3                  THE COURT:      So I'm not -- you won't use it for your

 4       case-in-chief.    And you can use it if it comes up --

 5                  MR. CAMPOAMOR-SANCHEZ:       Very well.

 6                  THE COURT:      And you need to show intent or someone

 7       else was there.     Him.   You can't show it to anybody else

 8       because they didn't write it.

 9                  MR. CAMPOAMOR-SANCHEZ:       Correct.

10                  THE COURT:      All right.   What about the bank record,

11       547?

12                  MR. CAMPOAMOR-SANCHEZ:       Yes, Your Honor.      So this is

13       evidence of the first $2 million payment to Skadden.             And he

14       happened to have this in his hard copy files.

15                  MR. ABELSON:     Your Honor, we entered a stip --

16       submitted a stipulation to the Court on when -- on the payments

17       that were received and when.       That's the fact.     They have the

18       stipulation.    I don't know whether a document that includes

19       foreign language on it has any relevance.

20                  THE COURT:      Why, if the payments are not disputed?

21                  MR. CAMPOAMOR-SANCHEZ:       Well, it's just relevant that

22       he had -- this is something that he had in the file.             He was

23       aware of the money and he was tracking where it was coming

24       from.   That's it.

25                  THE COURT:      Well, again, I think you can use this on
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 1       cross-examination, if he somehow suggests that he didn't care

 2       about the money or didn't know about the money, wasn't paying

 3       attention to the money.      But I think the fact that they were

 4       paid, and when they were paid, is coming in evidence.            So, I'm

 5       going to exclude this standing by itself.

 6                  Rule -- oh, my goodness.

 7                  MR. ABELSON:     Your Honor, I think there are only

 8       three more.

 9                  THE COURT:    Okay.    Good.   569.   All right.      Well,

10       this is the same sort of thing, where the attorney is writing

11       and saying there's news accounts about this, that, and the

12       other.

13                  MR. CAMPOAMOR-SANCHEZ:      Right.    And again, this is

14       just that he had a printed-out copy of this on his hard copy

15       files.

16                  MR. ABELSON:     I'm sorry.    What exhibit are we talking

17       about?

18                  MR. CAMPOAMOR-SANCHEZ:      I'm sorry, I misspoke.       This

19       is an additional email.

20                  THE COURT:    It's a different article.       And this puts

21       in the name of the person, as opposed to Ukraine.          But, I feel

22       like we have the emails to and from him to show he's alerted to

23       these issues, the firm as a whole, or the team as a whole is

24       reacting to these issues.      And to just say, And there was a

25       piece of paper in his own file about the very same thing --
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 1                   MR. CAMPOAMOR-SANCHEZ:     And I apologize, Your Honor,

 2       I've been corrected, that now we're out of the range of

 3       exhibits about his hard copy file.        So this is just an email.

 4                   THE COURT:   All right.    I mean, I understand that

 5       you're saying it's relevant because it prompted them to take

 6       action with respect to the other issue that I've said is

 7       relevant.    But again, with that I think you need to streamline

 8       how many documents you need to make that point.

 9                   MR. CAMPOAMOR-SANCHEZ:     Okay.

10                   THE COURT:   And the same one is the next -- 570 is

11       the same sort of thing?

12                   MR. CAMPOAMOR-SANCHEZ:     I'm sorry.    Is 570 next?

13                   Yes, Your Honor.    So this is similar to the one we

14       saw earlier where --

15                   THE COURT:   He just forwards it to Manafort.        I mean,

16       I think if the point we're trying to make -- and it's not the

17       main point in the case -- is that they jiggered around with the

18       engagement to deal with this perception problem arising out of

19       the small fee, we don't need every single document in his files

20       or Skadden's files that mention it.

21                   So, I think you can reduce them.       We don't need 569

22       and 570 and the ones we talked about before.         We probably don't

23       need -- this one isn't in English, 572.

24                   MR. CAMPOAMOR-SANCHEZ:     This is a continuation, Your

25       Honor, of the one we had.
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 1                  THE COURT:    This is the one from way back when.

 2                  MR. CAMPOAMOR-SANCHEZ:      Right.    It has an additional

 3       thing at the top.

 4                  THE COURT:    It covers everything, so maybe that's the

 5       one that accomplishes all the others in one fell swoop and we

 6       don't need all the others.      But I don't think we need all of

 7       them, so --

 8                  MR. CAMPOAMOR-SANCHEZ:      Yes, Your Honor.

 9                  THE COURT:    So pick one and that's it.

10                  All right.    I've ruled on the procurement issues.

11                  Are we down to the photographs at this point?

12                  MR. CAMPOAMOR-SANCHEZ:      Apparently so, Your Honor.

13                  THE COURT:    All right.    So, I understand there's

14       going to be a lot of names thrown around in this case, and it

15       helps to have jurors understand who's being talked about at any

16       particular time.     The foundation objection, is there any

17       suggestion on the part of the defense that any of these

18       pictures are not of the people?

19                  MR. MURPHY:     I don't think so.

20                  THE COURT:    So when's the problem?

21                  MR. MURPHY:     What's the point, I guess, is my issue.

22       It's not a -- this is not a bank robbery and an identification

23       case.   I mean, why do we need pictures of all these various

24       people?

25                  THE COURT:    Well, I'm not sure why we need a map of
     Case 1:19-cr-00125-ABJ Document 129 Filed 09/09/19 Page 136 of 143       240


 1       the Ukraine.    But go ahead.     Why do we need the pictures of all

 2       the people?    What are you planning to do with them?

 3                  MR. CAMPOAMOR-SANCHEZ:      So, Your Honor.      I think it's

 4       helpful to the jurors to, later on, you know, when they're

 5       thinking, okay, who was this person that was testifying about,

 6       have a picture of that person.       There will be some people, of

 7       course, that will not be witnesses but will be talked about.

 8       And they can -- the jurors can now have a picture of who that

 9       person is that's being talked about.        So that's it.

10                  It's not -- I don't know why they think it's not

11       relevant or it's objectionable simply to have the pictures of

12       the people that are either testifying or being talked about.

13       Similarly, as to the maps of Ukraine, some jurors may not know

14       where Ukraine is.     It's --

15                  THE COURT:    Most jurors don't know where Ukraine is.

16                  MR. CAMPOAMOR-SANCHEZ:      So it's to give an

17       orientation to the jurors where that is, put something in their

18       minds so they have a frame of reference.

19                  THE COURT:    All right.    Mr. Taylor?

20                  MR. TAYLOR:     The definition of relevance is something

21       that makes a fact at issue in the case more or less probable or

22       true.   A photograph doesn't do that, doesn't even come close.

23       It's just a graphic, it's an illustration.

24                  THE COURT:    That's what it is.      I think these are

25       basically almost like demonstratives, like they're going to be
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 1       talking about people and they're going to hold it up.             I don't

 2       think it's objectionable.      I don't think we want to spend a lot

 3       of time on it.

 4                  Are you going to do one of these big boards, where

 5       they're constantly pointing to it, like you would in a drug

 6       conspiracy?    Because I don't like the implication of that.

 7                  MR. CAMPOAMOR-SANCHEZ:      Right.    No, I'm not

 8       anticipating a board --

 9                  MR. TAYLOR:     That's what we're worried about, they're

10       going to put up a bunch of photographs of people who, you know,

11       for better or worse, have negative connotations.          You don't

12       need the photos --

13                  THE COURT:    Most of them don't.

14                  MR. TAYLOR:     There will be people who testify in this

15       case and the jury will be able to see who they are.              But we

16       don't need photographs.

17                  MR. ABELSON:     By the way, Your Honor, I don't think

18       we objected to the maps.

19                  THE COURT:    I know you didn't.      I'm just saying they

20       seem to sort of serve the same purpose.

21                  MR. CAMPOAMOR-SANCHEZ:      We're just trying to give the

22       jury a frame of reference.      And I, in my experience, trying a

23       number of cases, I find it useful to have that.

24                  THE COURT:    I'm going to let you do it.       They're

25       not -- they're just demonstrative aids.         They're not even
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 1       coming in evidence, I don't think.        Somebody is talking about

 2       so and so.    Is this a picture of so and so?       That's it.     Just

 3       so they don't confuse them with somebody else later.             There's

 4       multiple Alexes.     It gets confusing.     I don't think it conveys

 5       anything negative about any of them.        We're not going to do a

 6       big chart with circles and these are these people and these are

 7       those people, you know, this is the conspiracy.          So if it's

 8       just going to be what you're saying, that during their

 9       testimony they can show them, then that's fine.          Yes.

10                    MR. TAYLOR:   This sounds like opening statement, is

11       that what we're talking about?       These are going to be used in

12       opening?

13                    MR. CAMPOAMOR-SANCHEZ:    We would like to be able to

14       use them in opening or closing.       And, for example, if we have a

15       slide that says, you know, remind the jury, this is Alex

16       Haskell, and this is what Alex Haskell said during the trial.

17       And that's what we're trying to use these for.

18                    MR. TAYLOR:   I'm always -- sorry.

19                    MR. CAMPOAMOR-SANCHEZ:    So to give --

20                    THE COURT:    And your problem with their clicking on a

21       picture while they're talking is?

22                    MR. TAYLOR:   No, but I don't believe these are

23       exhibits to be offered in this trial.        They're demonstratives

24       to be used in opening statement, so that we're clear about

25       that.
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 1                   THE COURT:    You can use a demonstrative during a

 2       trial, too.    I said they're not exhibits.

 3                   MR. TAYLOR:    Okay.   Of course.    But they're not

 4       evidence.

 5                   THE COURT:    Right.

 6                   MR. TAYLOR:    They're not going to the jury.

 7                   THE COURT:    Okay.    They're demonstrative aids.

 8                   MR. CAMPOAMOR-SANCHEZ:     Right.    So none of the

 9       pictures are in evidence, is what the Court says.

10                   THE COURT:    Correct.   They're not in evidence.

11                   MR. CAMPOAMOR-SANCHEZ:     Then the question I have is,

12       do they have any objection or the Court have any objection to

13       me using them in a slide in either opening or closing?

14                   THE COURT:    No.   And then we'll figure out what

15       happens with them after that.

16                   Yes, Mr. --

17                   MR. MURPHY:    Your Honor, may I be heard?       In the

18       grand jury they presented a PowerPoint to the grand jury and

19       they had a lot of these pictures, and they had Associate of

20       Mr. Craig, and people that were not associated.

21                   THE COURT:    No descriptions, no words, no grand jury

22       Exhibit Number 27.     Just a picture.

23                   MS. GASTON:    We put their names under the picture;

24       just their names.

25                   THE COURT:    That's it.   Fine.
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 1                  All right.    I'm not going to put people through the

 2       debates about the defendant's exhibits at this moment.           I'm not

 3       saying ever.    But, you all deserve to have this have as much

 4       attention as everything else, and I'm not going to do it at ten

 5       of six this evening.

 6                  So since we would like to chat tomorrow anyway about

 7       the government's intentions, we can try to have a very

 8       efficient hearing on the not-too-many exhibits that are

 9       objected to of the defendants.       I mean, there are some that are

10       probably going to take some discussion, like the judgment

11       against Mr. Manafort, or the van der Zwaan plea, or the audit

12       of the National Security Division's Enforcement and

13       Administration.     But, let's do it tomorrow.

14                  Let me remind myself what else -- or, we could

15       possibly do it Friday, if people have a strong preference.          I

16       know you have other things to do to get ready for trial, and so

17       do I.

18                  MR. MURPHY:     I think Friday is better for the

19       defense, Your Honor.

20                  MR. CAMPOAMOR-SANCHEZ:      Unfortunately for us,

21       Thursday afternoon, or tomorrow afternoon, would be better.

22       But obviously, we'll do whatever the Court requires.

23                  THE COURT:    Let's see.    What do you want to say?

24                  MR. TAYLOR:     I just wanted to say, I actually have to

25       be in this court tomorrow afternoon at 2 o'clock for a
     Case 1:19-cr-00125-ABJ Document 129 Filed 09/09/19 Page 141 of 143         245


 1       sentencing, which is going to take awhile.         So I'm unavailable

 2       two to four.

 3                   THE COURT:    Well, that's a significant conflict that

 4       we have to take into consideration.

 5                   All right.    Well, how about 2 o'clock on Friday then?

 6       And I think that's about when I was saying that we should

 7       really know what the government's plans are anyway.              So,

 8       tomorrow -- and can somebody from your team make it Friday?

 9                   MR. CAMPOAMOR-SANCHEZ:     Yes.   Yes.   No, we --

10                   THE COURT:    It's hard on everybody, but --

11                   MR. CAMPOAMOR-SANCHEZ:     We'll make it on Friday, too.

12                   THE COURT:    We're all trying to get a lot done in a

13       very short period of time.      So let's do that.      And tomorrow

14       we'll just all have to make it through the day without getting

15       together.    And I think we'll make it.

16                   Please tell me that there's nothing further I need to

17       take up at this point.

18                   MR. CAMPOAMOR-SANCHEZ:     No, Your Honor.

19                   MR. TAYLOR:    Did I hear you correctly, that you're

20       not going to have a call tomorrow?

21                   THE COURT:    I don't think so, unless they have

22       something to tell us.      If you have something to tell us, please

23       notify Mr. Haley and we will try to get everyone together, at

24       least one member of your team together here in the courtroom.

25                   But, Mr. Haley knows how to reach all of you on short
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 1       notice.   So if you have anything definitive one way or the

 2       other, don't wait until Friday to tell us.

 3                  MR. CAMPOAMOR-SANCHEZ:          We will not.

 4                  THE COURT:    Okay.     All right.    Thank you.

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 1

 2                    CERTIFICATE OF OFFICIAL COURT REPORTER

 3

 4

 5                 I, JANICE DICKMAN, do hereby certify that the above

 6       and foregoing constitutes a true and accurate transcript of my

 7       stenograph notes and is a full, true and complete transcript of

 8       the proceedings to the best of my ability.

 9                             Dated this 9th day of August, 2018.

10

11

12                                   /s/________________________

13                                   Janice E. Dickman, CRR, RMR
                                     Official Court Reporter
14                                   Room 6523
                                     333 Constitution Avenue NW
15                                   Washington, D.C. 20001

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